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                                 Agreement dated 28 April 2010 -"The Preliminary Share Restructuring
       File Name(s):
                                 Agreement"
       Source Language(s)        Simplified chinese

       Target Language(s)        English




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   Arbitration Case at the Hong Kong International Arbitration Centre (“HKIAC”)

    in accordance with the rules of the Hong Kong International Arbitration Centre
                          (effective from September 1, 2008)

                                  (“HKIAC Rules”)

                                   HKIAC/A13028

                                    Xu Hongbiao


                                                                        First Applicant

                              Estate of Ke Zhengguang

                                                                     Second Applicant

                                         and

                          Oasis Investment Group Limited

                                                                      First Respondent

                                 Yu Naifen Stephany

                                                                    Second Respondent

                                     Yu Naiwen

                                                                     Third Respondent

                                     Yu Naiyun

                                                                    Fourth Respondent




                         Final Arbitration Award (excluding
                            interest and arbitration fees)



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                                 Final Arbitration Award
                          (excluding interest and arbitration fees)

I.     Parties Concerned

       1.     The Applicants in this case are:

              First Applicant: Mr. Xu Hongbiao, Chinese citizen, Chinese identification
              card number 310104196403192854. His correspondence address is Room 419,
              Oasis Tower, No. 555 Zhongshan West Road, Shanghai City, China. Postal code:
              200051.



              Second Applicant: Estate of Ke Zhengguang, was Mr. Ke Zhengguang prior
              to December 15, 2013 (hereinafter referred to as “Mr. Ke” or “Second
              Applicant”). Prior to his death, Mr. Ke was a Chinese citizen with Chinese
              identification card number 310109195601033237. Mr. Ke passed away on
              December 15, 2013. Thereafter, the Second Applicant in this case was amended
              as Estate of Mr. Ke. The Administrators of the Estate of Mr. Ke are: (1) Mdm.
              Zhang Yuejin (widow of Mr. Ke, hereinafter referred to as “Mdm. Zhang”); and
              (2) Mdm. Ke Yeying (daughter of Mr. Ke, hereinafter referred to as “Mdm. Ke).
              Their correspondence address is Room 419, Oasis Tower, No. 555 Zhongshan
              West Road, Shanghai City, China. Postal code: 200051.

              They are hereinafter collectively referred to as the “Applicants”.

       2.     In this case, C.L. Chow & Macksion Chan Solicitors (CLCMC Solicitors) was
              originally appointed as the representative of the Applicants. Address: 3/F,
              Alliance Building, No. 130-136 Connaught Road Central, Hong Kong. Mr. Ke
              passed away on December 15, 2013. On December 28, 2015, the High Court of
              Hong Kong issued the Letters of Administration and appointed Mdm. Zhang and
              Mdm. Ke as the Administrators of the Estate of Mr. Ke. On January 12, 2016,
              Baker & McKenzie Shanghai Office (after that, its Hong Kong Office also
              participated in this case; the Hong Kong and the Shanghai Office shall be
              collectively referred to as “Baker”) (Address: Room 1601, Jinmao Tower, No.
              88 Century Avenue, Pudong New Area, Shanghai, China/14/F Hutchison House,
              No. 10 Harcourt Road, Central, Hong Kong) sent a letter to the arbitration
              tribunal as Mdm. Zhang and Mdm. Ke’s representative, and officially



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              represented the Second Applicant in participating in this case. CLCMC
              Solicitors remained the representative of the First Applicant.

       3.     The Respondents in this case are:

              First Respondent: Oasis Investment Group Limited (hereinafter referred to as
              “Oasis Investment”), is a company limitd by shares registered in the British
              Virgin Islands, with its correspondence address as 12/F, Oasis Tower, No. 555
              Zhongshan West Road, Shanghai City, China. Postal code: 200051

              Second Respondent: Mdm. Yu Naifen Stephany, American citizen, U.S.
              Passport no. 710714118. Her correspondence address is 12/F, Oasis Tower, No.
              555 Zhongshan West Road, Shanghai City, China. Postal code: 200051

              Third Respondent: Mdm. Yu Naiwen, Chinese citizen, Chinese identification
              card number 310101196304040864. Her correspondence address is 12/F, Oasis
              Tower, No. 555 Zhongshan West Road, Shanghai City, China. Postal code:
              200051

              Fourth Respondent: Mdm. Yu Naiyun, Chinese citizen, Chinese identification
              card number 310106197207062822. Her correspondence address is 12/F, Oasis
              Tower, No. 555 Zhongshan West Road, Shanghai City, China. Postal code:
              200051

              They are hereinafter collectively referred to as the “Respondents”.

       4.     O’Melveny & Myers LLP was originally appointed as the representative of the
              Respondents. Address: 31/F, AIA Central, No. 1 Connaught Road Central, Hong
              Kong. After October 12, 2016, the team members of the representative of the
              Respondents were joined by Sidley Austin LLP (address: 39/F, Two
              International Finance Centre, Central, Hong Kong). Sidley Austin LLP was then
              appointed by the Respondents to continue representing the Respondents in this
              case.

       5.     The Applicants and Respondents are hereinafter each referred to as the “party
              concerned”, and both parties are referred to as “all parties”.

II.    Arbitration Agreement and Applicable Laws

       6.     This arbitration involves the “Agreement on the Implementation of the
              ‘Preliminary Share Restructuring Agreement’” (hereinafter referred to as the


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              “4.28 Agreement”) concluded by all parties on April 28, 2010 for the breaking
              up of the First Respondent and its subsidiaries. The basis of filing in this
              arbitration is Article 4.2 of the “4.28 Agreement”. It is said in this Article :

              “4.2 Any conflicts, disputes and claims resulting from this agreement or
              related to this agreement, breach of contract, termination of contract and void
              of contract (hereafter referred to as “disputes”) shall be dealt with through
              amicable negotiations by all Parties. If the negotiation fails, any Party is
              entitled to submit the dispute to the Hong Kong International Arbitration
              Centre for arbitration. The arbitration is to be conducted in Chinese. The
              arbitration tribunal is to consist of three arbitrators. Oasis Investment and the
              Controlling Shareholders are entitled to nominate one arbitrator, the
              Non-controlling Shareholders are entitled to nominate another arbitrator, and
              the third arbitrator, who will be the chief arbitrator, is to be nominated by the
              Chairperson of the Hong Kong International Arbitration Centre. The outcome
              of arbitration is final and binding on all Parties.”

       7.     “Non-controlling Shareholders” in the abovementioned arbitration clause refers
              to the Applicants in this case. Oasis Investment and the “Controlling
              Shareholders” (that is, the Second, Third, and Fourth Respondents) refer to the
              Respondents in this case.

       8.     Based on Article 4.2 in the “4.28 Agreement” as cited above, this Arbitration
              Proceeding shall be managed by the HKIAC and conducted in accordance with
              the “HKIAC Rules”. The arbitration location shall be Hong Kong and the
              arbitration language shall be Chinese.

       9.     The Article 4.1(sic) of the “4.28 Agreement” stipulates that the Agreement shall
              be governed by the laws of Hong Kong.

III.   Arbitral Tribunal

       10.    The arbitral tribunal in this case shall comprise the following arbitrators:

              (1)        Horace Wong Yuk-Lun, Senior Counsel, address: 10/F, New Henry
                         House, No. 10 Ice House Street, Central, Hong Kong, nominated by the
                         Applicants;




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              (2)        Teresa Cheng Yeuk-Wah, Senior Counsel, address: 38/F, Gloucester
                         Tower, The Landmark, Central, Hong Kong, nominated by the
                         Respondents; and

              (3)        Mr. Yang Ing Loong (hereinafter referred to as “Chief Arbitrator”),
                         address: 18/F, One Exchange Square, No. 8 Connaught Place, Central,
                         Hong Kong, was appointed as the third arbitrator, who shall also act as
                         the Chief Arbitrator, by the HKIAC Council in accordance with the
                         agreement reached by all parties on arbitration.

       11.    The arbitral tribunal was officially constituted on June 4, 2013 and all parties
              were informed of the constitution of the arbitral tribunal on the same day.

              Arbitration Proceedings

       12.    The arbitral tribunal held that it was not necessary to list all the corresponding
              letters between the representatives of the parties written during the process of
              this case. All procedural orders made by the arbitral tribunal have been issued in
              writing and they will not be repeated [in full] herein. It shall be emphasized that
              the arbitral tribunal has fully considered all the claims made by all the parties in
              writing, the testimonies given by the witnesses, and claims made during the
              hearings before the orders were issued. All instructions, orders, and decisions
              were made after negotiations by the three arbitrators. In this regard, this part of
              the arbitration award presents a summary on the milestones of this case.

       13.    On February 22, 2013, the Applicants served a “Notice of Arbitration” (Case No.
              HKIAC/A13028) on the Respondents and submitted it to the HKIAC in Hong
              Kong to resolve the disputes arose under the “4.28 Agreement”.

       14.    On April 12, 2013, the Respondents submitted a “Response to the Notice of
              Arbitration”.

       15.    On April 8, 2013, HKIAC sent a letter to confirm the appointment of Horace
              Wong Yuk-Lun, Senior Counsel, as an arbitrator in this case as nominated by the
              Applicants. On April 22, 2013, the Respondents notified the HKIAC that Teresa
              Cheng Yeuk-Wah, Senior Counsel, shall be nominated as an arbitrator in this
              case. The next day, that is, April 23, 2013, HKIAC notified Mdm. Teresa Cheng
              Yeuk-wah that she had been nominated. On the same day, Mdm. Teresa Cheng
              Yeuk-wah notified HKIAC that she shall accept the nomination. On April 30,


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              2013, HKIAC sent a letter to confirm the appointment of Mdm. Teresa Cheng
              Yeuk-wah as an arbitrator in this case.

       16.    On June 4, 2013, HKIAC sent a letter to confirm the appointment of Mr. Yang
              Ing Loong as the Chief Arbitrator in this case. On June 4, 2013, the arbitral
              tribunal was officially constituted.

       17.    On June 4, 2013, HKIAC sent a letter to notify all parties that the arbitral tribunal
              had been constituted in accordance with the “HKIAC Rules”.

       18.    On June 7, 2013, the Chief Arbitrator sent a letter on behalf of the arbitral
              tribunal to notify all parties that the arbitral tribunal had been constituted. He
              requested all parties to confirm that they do not have any objections regarding
              the constitution of the arbitral tribunal and matters related to the arbitration rules,
              the arbitration language, and the applicable governing laws. At the same time,
              the arbitral tribunal provided an interim schedule it had drafted (it was converted
              to procedural orders subsequently) and requested that all parties conduct
              negotiation, reach a consensus (where possible) regarding the submission dates
              of the relevant documents, and submit a reply to the arbitral tribunal before 6
              p.m. on June 14, 2013.

       19.    On June 14, 2013, the Applicants sent a letter to the Chief Arbitrator to confirm
              the relevant matters as mentioned in paragraph 18 above and submitted the draft
              procedural order proposed by the Applicants. On the same day, the Respondents
              submitted a schedule proposed by the Respondents and supplemented a
              complete arbitral tribunal draft procedural order based on the said schedule, and
              confirmed the relevant matters as mentioned in paragraph 18 above.

       20.    After considering the written opinions by all parties, the Chief Arbitrator issued
              the Procedural Order (I) (hereinafter referred to as “Order (I)”) on behalf of the
              arbitration tribunal on June 25, 2013. One copy of the amended procedural
              schedule is annexed thereto.

       21.    On August 30, 2013, the Respondents submitted their “Statement of Defence
              and Counterclaim” and list of appendices to the HKIAC via email and special
              courier. The arbitral tribunal confirmed and acknowledged the receipt of the
              electronic version via email on the same day.

       22.    On October 8, 2013, the Applicants submitted their “Reply and Defence to
              Counterclaim” to the arbitral tribunal via email.

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       23.    On November 12, 2013, the Respondents sent a letter to the arbitral tribunal and
              submitted their “Further Reply to the Applicants’ Reply and Defence to
              Counterclaim” to the arbitral tribunal. The arbitral tribunal confirmed and
              acknowledged the receipt via email on the same day.

       24.    On November 22, 2013, the Applicants sent a letter to the arbitral tribunal and
              alleged that the Respondents had committed a serious breach of Order (I) by
              submitting the “Further Reply to the Applicants’ Reply and Defence to
              Counterclaim” to the arbitral tribunal on November 12, 2013. The reason was
              that Order (I) did not permit the Respondents to provide a further reply to the
              Applicants’ reply. The Applicants requested that the arbitral tribunal issue an
              order to revoke Paragraphs 1 to 32 (that is, the content of the further reply to the
              Applicants’ reply) of the Respondent’s further reply, and requested that the
              Respondents pay the Applicants for the attorney fees incurred due to their
              submission of the further reply.

       25.    On the same day, that is, November 22, 2013, the Respondents sent a letter to the
              arbitral tribunal and denied that their submission of the “Further Reply to the
              Applicants’ Reply and Defence to Counterclaim” to the arbitral tribunal has
              breached Order (I). The reason was that the content of the further reply was only
              a reply to the Applicants’ defence to counterclaims. However, in view that the
              Applicants’ “Defence to Counterclaims” and the content of other portions were
              closely interconnected and overlapping, the reply to the Applicants’ “Defence to
              Counterclaims” involved the content of other portions. Furthermore, as the reply
              was formatted and separately answered based on the sequence of the paragraphs
              of the Applicants’ “Reply and Defence to Counterclaim”, the Respondents
              requested that the arbitral tribunal reject the Applicants’ request.




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       26.    On November 25, 2013, the arbitral tribunal issued a reply to all parties via email
              and stated that after consideration, the arbitral tribunal will not order the
              Respondents to revoke Paragraph 1 to Paragraph 32 of their “Further Reply to
              the Applicants’ Reply and Defence to Counterclaim”. However, the arbitral
              tribunal permitted the Applicants to make further statement in writing with
              regard to the said paragraphs within one week (that is, on or before November
              30). At the same time, the arbitral tribunal asked all parties whether an extension
              of the deadline of the Request for Production of Documents that each party was
              to present as stipulated in Order (I) was required (that is, November 26).

       27.    On the same day, that is, November 25, 2013, the Applicants submitted a reply
              to the arbitral tribunal via email; in view that the Respondents confirmed that the
              contents in their further reply were only limited to the Applicants’ defence to
              counterclaims, the Applicants shall not make further statement in writing. Hence,
              the extension of the deadline on November 26 was not required.

       28.    On November 26, 2013, the Respondents submitted the “Respondents’ Request
              for Production of Documents” to the arbitral tribunal.

       29.    On the same day, that is, November 26, 2013, the Applicants submitted the
              “Applicants’ Document List” to the arbitral tribunal.

       30.    On December 5, 2013, the arbitral tribunal confirmed via email the receipt of the
              “Respondents’ Request for Production of Documents” and the “Applicants’
              Document List” submitted on November 26, 2013 by the Respondents and the
              Applicants, respectively. At the same time, the arbitral tribunal reminded the
              Applicants that they did not submit a Request for Production of Documents
              stated in Paragraph 7 of Order (I) and requested the Applicants to clarify whether
              any requests for production of documents to the Respondents would be made
              before 6 p.m. on December 6, 2013.

       31.    On December 6, 2013, the Applicants sent an email to the arbitral tribunal to
              confirm that they did not have any requests for the production of documents at
              this stage.

       32.    On December 17, 2013, the Applicants submitted the Applicants’ Reasonable
              Objections to the Respondents’ Request for Production of Documents to the
              arbitral tribunal via email, and notified all parties that Mr. Ke had suddenly
              passed away the day before. The Applicants stated that they would discuss the

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              relevant legal procedures matters regarding the Second Applicant’s continuation
              in this case with Mr. Ke’s family members as soon as possible, and they would
              make recommendations to the arbitral tribunal as soon as possible after receiving
              the relevant instructions from Mr. Ke’s family members.

       33.    On December 20, 2013, the arbitral tribunal requested the Respondents via email
              to respond to the Applicants’ Reasonable Objections to the Respondents’
              Request for Production of Documents on December 27, 2013, and permitted the
              Applicants to make a final response on January 7, 2014 with regard to the
              Respondents’ response. At the same time, the arbitral tribunal pointed out that,
              even though these steps were not explicitly stated in Order (I), it was added so as
              to facilitate better decision making by the arbitral tribunal. In addition, the
              arbitral tribunal stated that it shall wait for the Applicants’ recommendations
              regarding the relevant matters on the legal procedures regarding the Second
              Applicant’s continuation in this case.

       34.    On December 27, 2013, the Respondents submitted the “Respondents’ Reasons
              for Rebuttal/Renewed Position to the Objections to the Request for Production
              of Documents” (hereinafter referred to as “Reasons for Rebuttal/Renewed
              Position”) to the arbitral tribunal.

       35.    On January 9, 2014, the arbitral tribunal confirmed via email the receipt of the
              “‘Respondents’ Request for Production of Documents’ including the Applicants’
              Objection Opinions and the Respondents’ Reasons for Rebuttal/Renewed
              Position to the Objections to the Request for Production of Documents”
              submitted by the Respondents. In view that the deadline for the Applicants’ final
              response to this document (January 7, 2014) had passed, the arbitral tribunal
              requested the Applicants to confirm whether a response would be made to the
              said document before 6 p.m. on that day. At the same time, the arbitral tribunal
              also requested the Applicants to provide statements or recommendations
              regarding the matters on the relevant legal procedures regarding the Second
              Applicant’s continuation in this case.

       36.    On the same day, that is, January 9, 2014, the Applicants submitted a request via
              email to the arbitral tribunal to suspend the arbitration proceedings until January
              15, 2014, and to extend the final deadline of the Applicant’s response to the
              Respondents’ “Reasons for Rebuttal/Renewed Position” to January 15, 2014.
              The Applicants stated that they shall submit the Applicant’s response to the

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              Respondents’ “Reasons for Rebuttal/Renewed Position” to the arbitral tribunal
              and provide further statements or recommendations regarding the impact of Mr.
              Ke’s passing on this case on that day.

       37.    On January 10, 2014, the arbitral tribunal approved the Applicants’
              abovementioned request for extension, that is, the arbitration proceeding shall be
              suspended until January 15, 2014 and the final deadline for the Applicant’s
              response to the Respondents’ “Reasons for Rebuttal/Renewed Position” shall be
              extended to January 15, 2014, and agreed to the representative of the Applicants
              providing further statements or recommendations regarding the impact of Mr.
              Ke’s passing on this case on that day. The arbitral tribunal also reserved the
              rights allowing the Respondents to provide a reply to the statements or
              recommendations.

       38.    On January 15, 2014, the Applicants sent a letter to the arbitral tribunal, with the
              Applicants’ response to the Respondents’ “Reasons for Rebuttal/Renewed
              Position” enclosed. The Applicants also requested for the extension of the
              statements or recommendations regarding the impact of Mr. Ke’s passing on this
              case to January 30, 2014 based on the actual difficulties faced by Mr. Ke’s wife,
              daughter, and their family members.

       39.    On January 16, 2014, the arbitral tribunal agreed to suspend the arbitration
              proceeding until January 30, 2014 via email.

       40.    On January 24, 2014, the representative of the Applicants (CLCMC Solicitors)
              sent an email to the arbitral tribunal to explain the situation of Mr. Ke’s family in
              detail and claimed that the arbitration could proceed. The representative of the
              Applicants stated that it had already accepted the joint appointment by Mdm.
              Zhang, the wife of Mr. Ke, and Mdm. Ke, the daughter of Mr. Ke, to begin the
              legal procedures for the application at the High Court of Hong Kong to permit
              Mdm. Zhang or her authorized person, Ke Yele, to continue this case as the
              Administrator of the Estate of Mr. Ke, on behalf of the Estate of Mr. Ke. It shall
              also represent the First Applicant and Mdm. Zhang, the wife of Mr. Ke, and
              Mdm. Ke, the daughter of Mr. Ke, in the application to permit Mdm. Zhang or
              her authorized person, Ke Yele, to carry out all the procedures in this case as the
              Administrators of the Estate of Mr. Ke, without terminating the procedures of
              this case before the granting of permission by the High Court of Hong Kong. At



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              the same time, it shall notify the arbitral tribunal immediately after the official
              granting of permission by the High Court of Hong Kong.

       41.    On the same day, that is, January 24, 2014, the arbitral tribunal sent an email to
              request the Respondents to provide a reply to the abovementioned request made
              by the Applicants on or before January 29, 2014.

       42.    On January 29, 2014, the Respondents sent a letter to the arbitral tribunal and
              stated that they did not object to the request of the Applicant’s representative in
              principle, that is, Mr. Ke’s legal successor shall continue in this case and the
              termination of the procedures in this case was not required. However, the
              Applicants must provide the relevant information/clarification of the issues
              concerning the matter, including the identity of Ke Yele, Mdm. Zhang, and
              Mdm. Ke, and the relevant documents. The Respondents also requested that the
              arbitral tribunal allow them the opportunity to publish their final opinion within
              a certain period after they receive the information they requested.

       43.    On January 30, 2014, the arbitral tribunal notified all parties via email that there
              were legal concerns regarding the viewpoints claimed by the representative of
              the Applicants in an email dated January 24, 2014, that is, to push forward the
              case procedures before the Administrators of the Estate of Mr. Ke are approved
              by the High Court of Hong Kong. At the same time, the arbitral tribunal invited
              the representative of the Applicants to reply to the letter dated January 29, 2014
              sent by the Respondents’ lawyer on or before February 14, 2014.

       44.    On February 11, 2014, the Respondents sent a letter to the arbitral tribunal
              requesting for confirmation that the case procedure (including Item 10 of “Order
              (I)” and all procedures thereafter) was still suspended until further instructions
              from the arbitral tribunal. The arbitral tribunal sent a letter to all parties on
              February 12, 2014 confirming that the case procedure was temporarily
              suspended. It stated that further instructions would be given after further reply
              from the Second Applicant was received (the deadline shall be on February 14,
              2014).

       45.    On February 14, 2014, the Applicants sent a letter to the arbitral tribunal in
              response to the letter dated January 29, 2014 sent by the Respondents and the
              opinions in the email dated January 30, 2014 sent by the arbitral tribunal. They
              claimed that in view of Rule 15 of Order 15 of the Rules of the High Court in
              Chapter 4A of the Hong Kong Subsidiary Legislation and the precedent of the

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                 High Court of Hong Kong (Lily Cheung v. The Official Solicitor and Another,
                 [2008] 5 HKLRD 743), the arbitral tribunal could appoint Mdm. Zhang as the
                 representative of the Estate of Mr. Ke in the case procedure for the continuation
                 of case procedures. The identification documents of Mdm. Zhang, marriage
                 certificate of Mdm. Zhang and the Second Applicant, death certificate 1 and
                 identification documents of the Second Applicant, and the court verdict of the
                 cited case were enclosed therewith.

       46.       On February 25, 2014, the Respondents sent a letter to the arbitral tribunal
                 requesting that the Applicants clarify whether they were no longer requesting to
                 appoint Ke Yele as the Administrator of the Estate. The Respondents also
                 objected to the Applicants’ request to the arbitral tribunal to appoint Mdm.
                 Zhang as a representative of the Second Applicant’s estate in the case procedure
                 for the continuation of case procedures, and claimed that the arbitral tribunal
                 should wait until the final approval of the Administrators of the Estate of the
                 Second Applicant had been officially issued by the High Court of Hong Kong
                 before continuing case procedures.

       47.       On February 26, 2014, the Applicants sent an email to the arbitral tribunal
                 requesting that their response to the Respondents’ letter dated February 25, 2014
                 to be sent on or before February 28, 2014. On the same day, the arbitral tribunal
                 approved the Applicants’ said request via email.

       48.       On February 27, 2014, the arbitral tribunal notified all parties via email that the
                 arbitral tribunal intended to hold a half-day hearing in the afternoon of April 2,
                 2014 at HKIAC. The primary objective was: To allow all parties to fully express
                 their legal opinions and feasible solutions on impact of the passing of Mr. Ke on
                 the arbitration proceedings, so as to facilitate the moving forward of arbitration
                 proceedings.

       49.       On February 27, 2014, the Applicants responded to the Respondents’ letter dated
                 February 25, 2014 and clarified that Mdm. Zhang and Mdm. Ke were willing
                 and hoped that the arbitral tribunal would appoint Mdm. Zhang as the
                 Administrator of the Estate of Mr. Ke.



1   The death certificate indicated that the Second Applicant passed away in Shanghai on December 15, 2013 at 10:20 p.m.



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       50.    On March 11, 2014, after considering the correspondences between all parties
              regarding the question of hearing, the arbitral tribunal formulated a schedule for
              both parties to submit their legal opinions on the issue of the impact of the
              passing of Mr. Ke on the arbitration proceedings.

       51.    On March 25, 2014, all parties submitted their opinions in writing to the arbitral
              tribunal respectively with regard to the abovementioned issue. With regard to
              the date of the hearing, all parties stated that they had not reached a consensus.
              They requested that the arbitral tribunal consider reviewing the written materials
              submitted by all parties in this round before deciding whether a hearing was
              required.

       52.    On April 1, 2014, all parties submitted a rebuttal legal opinion to the other
              party’s written opinions to the arbitral tribunal respectively.

       53.    On April 9, 2014, the Respondents sent a letter to the arbitral tribunal via email
              to propose that the arbitral tribunal give all parties two weeks to negotiate the
              matter regarding the recommendation made by the Respondents on seeking
              indemnification due to the legal risks that might be incurred by appointing Mdm.
              Zhang as the representative of the Second Applicant to participate in this case.
              On the same day, the Applicants sent a letter to the arbitral tribunal via email
              stating that the Respondents’ interpretation of the Applicants’ proposal was
              incorrect. At the same time, the Applicants suggested to the arbitral tribunal (and
              at the same time, confirmed that they were willing to unconditionally accept)
              that in the event the arbitral tribunal agreed with the potential risks raised by the
              Respondents after considering the statements and relevant documents provided
              by all parties, they requested that the arbitral tribunal directly issue the following
              binding order under the circumstances:

              “The First Applicant shall solely bear all liabilities of guarantee and indemnity
              and pay for the reasonable indemnification of the Respondents for the rights and
              interests of the Respondents affected due to Mdm. Zhang’s actions in this
              arbitration proceedings and all losses incurred by the Respondents due to the
              rejection of her request as an Administrator of the Estate of the Second
              Applicant by the High Court.”

       54.    On the same day, that is, April 9, 2014, the Respondents expressed regret over
              the Applicants’ response, and requested the arbitral tribunal to make a decision
              regarding the relevant request made by the Applicants.

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       55.    On April 29, 2014, the arbitral tribunal instructed all parties via email that in
              view that the legal opinions and written materials submitted by all parties were
              sufficient, the arbitral tribunal held that a hearing was not necessary.

       56.    On May 30, 2014, the arbitral tribunal made a “Decision on the Impact of the
              Passing of the Second Applicant on the Arbitration Proceedings” (“Decision
              (I)”). The decision of the arbitral tribunal was as follows: (1) The arbitral
              tribunal does not possess jurisdiction over the appointment of the Administrator
              of the Estate of the Second Applicant; (2) As the arbitral tribunal does not
              possess the abovementioned jurisdiction, the case of the Second Applicant may
              only proceed after the Administrator of the Estate of the Second Applicant had
              been appointed by the High Court of Hong Kong; (3) In view of this, the only
              reasonable resolution to this matter by the arbitral tribunal is to suspend the
              arbitration at the current time until after the High Court of Hong Kong appoints
              the Administrator of the Estate of the Second Applicant; (4) The arbitral tribunal
              decided to reserve the decision for the allocation of the attorney fees for this
              request.

       57.    On June 4, 2014, HKIAC sent the original copy of “Decision (I)” to all parties.
              There were no new developments in this case thereafter until April 2, 2015.

       58.    On April 2, 2015, the representative of the Applicants sent an email to the
              arbitral tribunal on behalf of the First Applicant and made the following request
              (hereinafter referred to as “Withdrawal/Addition Request”): (1) To request for
              the arbitral tribunal to issue an order to withdraw the Second Applicant from this
              arbitration proceeding and add the Estate of the Second Applicant as the Fifth
              Respondent in this arbitration proceeding; (2) To permit the Applicant to amend
              the arbitration petition to reflect the withdrawal of the Second Applicant and the
              addition of the Estate of the Second Applicant as the Fifth Respondent; (3) To
              resume this arbitration proceedings. Enclosed with the Applicant’s email were:
              A brief statement of the First Applicant, an affirmation of the First Applicant,
              and a draft of the amended arbitration petition. On the same day, the arbitral
              tribunal requested that the Respondents to submit their legal opinions regarding
              the Applicant’ request before 6 p.m. on April 10, 2015.

       59.    On April 9, 2015, the Respondents sent an email to the arbitral tribunal
              requesting for an extension of the deadline for their submission of the legal
              opinions to April 30, 2015. On the same day, the Applicants recommended to the

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              arbitral tribunal via email that, in view that this case procedure had been
              suspended for over 15 months since the passing of the Second Applicant, the
              grace period should be extended to April 17, 2015.

       60.    On April 10, 2015, after careful consideration, the arbitral tribunal decided to
              extend the date of the Respondents’ response to April 23, 2015 (before 6 p.m.).

       61.    On April 20, 2015, Baker, as a representative of Mdm. Zhang and Mdm. Ke, sent
              a letter to the arbitral tribunal and claimed that the act of submitting a request to
              the arbitral tribunal to change (the Estate of) the Second Applicant to the Fifth
              Respondent without the knowledge of Mdm. Zhang and Mdm. Ke by the First
              Applicant had seriously damaged the legal rights and interest of the Second
              Applicant and/or its legal successors. Baker claimed that the arbitral tribunal
              should not make any decisions regarding the abovementioned request before
              fully taking its opinion into consideration. At the same time, Baker stated that
              Mdm. Zhang and Mdm. Ke were handling the relevant procedures to obtain the
              appointment by the High Court of Hong Kong as the Administrators of the
              Estate of the Second Applicant and it requested the arbitral tribunal to provide it
              with a duplicate copy of the abovementioned request made by the First
              Applicant and the relevant documents.

       62.    On April 23, 2015, the Respondents sent a letter to the arbitral tribunal and stated
              that the Administrator of the Estate of the Second Applicant should have the
              right to express its opinion regarding the request “to remove the Second
              Applicant from these arbitration proceedings and add the Estate of the Second
              Applicant as the Fifth Respondent in these arbitration proceedings”, and that the
              arbitral tribunal should not make any decisions regarding the abovementioned
              matter before the Administrator of the Estate of the Second Applicant has been
              appointed or confirmed. At the same time, the Respondents also claimed that the
              request made by the First Applicant lacked necessary basis. In view of the
              changes in the relationship of all parties, the arbitral tribunal should adopt a
              more cautious approach in handling the procedure and should not make a
              decision to support this request at this point. With regard to whether or not the
              Respondents could request for the First Applicant to jointly bear and perform all
              obligations and liabilities of the Applicants under the “4.28 Agreement”, the
              Respondents raised specific questions concerning the matter and requested that
              the Applicants respond to them. On the same day, the Applicants sent an email to
              the arbitral tribunal to request for a written response with regard to the
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              abovementioned letter sent by the Respondents to be submitted to the arbitral
              tribunal within 14 days (that is, on or before May 7, 2015). The arbitral tribunal
              approved the Applicants’ request of the said deadline via email on the same day.

       63.    On the same day, that is, April 23, 2015, the arbitral tribunal sent a reply to
              Baker via email stating that, in view of Mdm. Zhang and Mdm. Ke not being
              appointed by the court as the Administrators of the Estate of the Second
              Applicant, both of them shall not be the parties involved in this case and they
              shall not possess the requirements to make any requests to the arbitral tribunal. If
              Mdm. Ke and Mdm. Zhang officially became the legal Administrators of the
              Estate of the Second Applicant as appointed by the court in the future, they could
              make a separate request to the arbitral tribunal again.

       64.    On May 6, 2015, the Applicants requested to extend the deadline for the
              submission of the written response mentioned in Paragraph 62 above to on or
              before May 21, 2015. The arbitral tribunal approved the said request for
              extension on May 7, 2015.

       65.    On May 21, 2015, the Applicants submitted the “Written Response of the First
              Applicant” to the arbitral tribunal. The Applicants claimed that, in view that
              Mdm. Zhang and Mdm. Ke no longer wished to continue authorizing the
              representative of the Applicants to handle the procedures of the Estate, the
              representative of the Applicants would not be allowed to continue representing
              the Second Applicant based on legal principles. Also, as the outcome of Mdm.
              Zhang and Mdm. Ke’s application to the High Court of Hong Kong to be
              appointed as the Administrators of the Estate of the Second Applicant was still
              unknown after over one year, the First Applicant believed that Mdm. Zhang and
              Mdm. Ke were affected by the Respondents and intentionally refused to handle
              the Estate or delay the handling of the Estate. Hence, the arbitral tribunal and all
              parties should not wait indefinitely for the succession of the Estate of the Second
              Applicant. Hence, the First Applicant recommended that the arbitral tribunal
              remove the Second Applicant and add the Second Applicant as the Fifth
              Respondent. Otherwise, in the event the arbitral tribunal held that the Second
              Applicant cannot or should not be added as the Fifth Respondent, the arbitral
              tribunal would be requested to consider the continuation of the individual
              arbitration of the First Applicant.



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       66.    On June 16, 2015, Baker sent a letter to the arbitral tribunal stating that it had
              already submitted the application regarding the Administrator of the Estate of
              the Second Applicant to the High Court of Hong Kong on behalf of Mdm. Ke
              and Mdm. Zhang on June 12, 2015. On June 19, 2015, the arbitral tribunal
              forwarded this letter to all parties and instructed them to submit a written opinion
              on or before June 25, 2015 with regard to the submitted application of the
              appointment of the Administrator of the Estate of the Second Applicant,
              especially on whether it was necessary for the arbitral tribunal to consider the
              request made by the First Applicant.

       67.    On June 25, 2015, all parties submitted a written opinion to the arbitral tribunal
              in accordance with the instructions given by the arbitral tribunal on June 16,
              2015.

       68.    On June 26, 2015, the arbitral tribunal instructed all parties via email that after
              reviewing the written statements/opinions made by all parties with regard to the
              Withdrawal/Addition Request made by the First Applicant, the arbitral tribunal
              held that, as the said request was relatively complex, a hearing on the said
              request was necessary to clarify and obtain the viewpoints and positions of all
              parties for consideration.

       69.    On June 29, 2015, the First Applicant sent a reply to the arbitral tribunal via
              email, stating that it had already discussed with the Respondents regarding the
              appropriate date and location of the hearing.

       70.    On July 13, 2015, the arbitral tribunal conducted a public hearing with regard to
              the Withdrawal/Addition Request made by the First Applicant. On the same day
              and after the hearing, the arbitral tribunal asked all parties via email whether
              they would agree to add the three appendices (that is, the letter dated July 10,
              2015 sent by Baker to the arbitral tribunal, the “Preliminary Agreement on Share
              Restructuring for Oasis Investment Group Limited” dated November 9, 2009,
              and case materials related to Warwick Film Productions Ltd and Another v.
              Eisinger and Others) into the hearing folder submitted by the Applicants (and
              they shall be listed as document number 24, 25, and 26, from pages 207 to 218).
              On the same day, the First Applicant and the Respondents confirmed and agreed
              via email respectively.

       71.    On August 6, 2015, the arbitral tribunal notified all parties via email that it had
              made a decision (the electronic version of the decision was enclosed in the said

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              email) regarding the request made by the First Applicant on April 2, 2015.
              HKIAC would mail the original copy to all parties. At the same time, the arbitral
              tribunal requested that the lawyers for all parties discuss and formulate a copy of
              the arbitration procedural schedule as soon as possible for the arbitral tribunal’s
              reference.

       72.    On August 26, 2015, the First Applicant made a suggestion to the arbitral
              tribunal via email that the arbitration proceeding should proceed in accordance
              with the Procedural Order (I) dated June 25, 2013. The relevant arbitration
              procedural schedule should be an extension of this order and the corresponding
              timings should be adjusted (the specific adjustments were listed in the email).
              The First Applicant requested the arbitral tribunal to adopt the abovementioned
              schedule and issue a corresponding order.

       73.    On August 27, 2015, the Respondents sent an email to the arbitral tribunal
              stating that the procedural schedule proposed by the First Applicant the day
              before was not a recommendation after discussion with the Respondents. The
              Respondents recommended that the arbitral tribunal give all parties seven days
              to conduct negotiations regarding the First Applicant’s proposal and to reach a
              consensus as far as possible. Hence, the Respondents requested that the arbitral
              tribunal temporarily suspend giving instructions regarding the arbitration
              procedural schedule.

       74.    On August 29, 2015, the arbitral tribunal ordered all parties to submit a
              procedural schedule upon reaching a consensus after negotiation by all parties
              on or before September 3, 2015. If all parties could not reach a consensus, the
              arbitral tribunal requested that each party raise their own opinions for the arbitral
              tribunal’s reference.

       75.    On September 1, 2015, the First Applicant sent an email to the arbitral tribunal
              stating that it agreed to the procedural schedule recommended by the
              Respondents on August 27, 2015 and requested the arbitral tribunal to adopt the
              abovementioned schedule where a consensus had been reached by all parties,
              and to issue the corresponding order.

       76.    On September 14, 2015, the arbitral tribunal sent an email stating that it agreed
              to the procedural schedule recommended by the Respondents. In view that the
              widow of the Second Applicant, Mdm. Zhang, and daughter of the Second
              Applicant, Mdm. Ke, were represented by Baker, the arbitral tribunal requested
              that the lawyer of the First Applicant and the lawyer of the Respondents confirm

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              that they had already notified Baker of the decision made by the arbitral tribunal
              on August 6, 2015 via registered mail. On the same day, the First Applicant sent
              an email to the arbitral tribunal confirming that it had already sent a registered
              mail to Baker on that day (that is, September 14, 2015) regarding the decision
              made by the arbitral tribunal on August 6, 2015. On October 8, 2015, the
              Respondents stated to the arbitral tribunal that in view that the First Applicant
              had already sent the decision to Baker, the Respondents did not send the said
              decision to Baker again. However, the Respondents confirmed that the
              procedural schedule sent by the First Applicant on September 1, 2015 reflected
              the consensus of all parties, and requested the arbitral tribunal to issue a new
              procedural order.

       77.    On December 21, 2015, the arbitral tribunal instructed all parties via email that
              in view that the Applicant had already sent a registered mail to Baker on
              September 14, 2015 regarding the decision made by the arbitral tribunal on
              August 6, 2015, the Respondents did not need to send the said decision to Baker.
              At the same time, the arbitral tribunal issued Procedural Order (II) (hereinafter
              referred to as “Order (II)”), and a copy of the amended procedural schedule was
              enclosed therewith.

       78.    On December 24, 2015, Baker sent a letter to the arbitral tribunal stating that the
              High Court of Hong Kong had made a preliminary decision to authorize Mdm.
              Ke and Mdm. Zhang as the appointed Administrators of the Estate of the Second
              Applicant on November 6, 2015, and they hoped to receive the official decision
              from the High Court of Hong Kong soon.

       79.    On January 12, 2016, Baker sent a letter to the arbitral tribunal stating that the
              High Court of Hong Kong had issued the Letters of Administration on
              December 28, 2015 and appointed Mdm. Zhang and Mdm. Ke as the
              Administrators of the Estate of the Second Applicant. The duplicate copy of the
              said Letters of Administration was also enclosed in the letter. In the letter, Baker
              also requested that the arbitral tribunal provide it with the dossier of this case
              that the arbitral tribunal had sent to all parties after the passing of the Second
              Applicant. On the same day, the arbitral tribunal forwarded this letter to the First
              Applicant and the Respondents, and instructed them to provide opinions for or
              against Baker at or before 6 p.m. on January 15, 2016.




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       80.    On January 14, 2016, the First Applicant sent an email to the arbitral tribunal
              stating that the duplicate copy of the Letters of Administration provided by
              Baker was not complete. However, if Baker was able to provide the complete
              duplicate copy stating that the relevant Administrators of the Estate has legal
              rights to represent the Second Applicant in the administration or handling of its
              choses in action and liabilities under the 4.28 Agreement and/or in this case
              based on the Letters of Administration, the First Applicant shall not object to
              Baker’s request in the letter dated January 12, 2016.

       81.    On January 15, 2016, the arbitral tribunal issued the “Decision of the Arbitral
              Tribunal  on    the    ‘Respondents’        Request     for      Production     of
              Documents’“ (“Decision (II)”) to all parties via email.

       82.    On January 15, 2016, the Respondents sent an email to the arbitral tribunal
              confirming that they did not object to Baker’s request in the letter dated January
              12, 2016.

       83.    On January 18, 2016, Baker sent a letter to the arbitral tribunal requesting that
              the arbitral tribunal notify it on the newest developments of this case, the next
              step in the procedure and the time schedule, and provide it with the documents it
              had requested for in the letter dated January 12, 2016.

       84.    On January 19, 2016, the arbitral tribunal replied to Baker via email and
              requested for it to provide the complete duplicate copy of the Letters of
              Administration so as to facilitate the arbitral tribunal’s overall consideration of
              Baker’s request. On the same day, the First Applicant sent a letter to the arbitral
              tribunal to submit a further supplementary written opinion with regard to the
              matters in Baker’s letter dated January 12, 2016.

       85.    On January 27, 2016, the First Applicant sent an email to the arbitral tribunal
              confirming that the relevant documents in the Request for Production of
              Documents in the arbitral tribunal’s Decision (II) were non-existent.

       86.    On January 29, 2016, Baker sent a letter to the arbitral tribunal stating that Mdm.
              Ke and Mdm. Zhang had reservations about providing the complete duplicate
              copy, as the complete duplicate copy of the Letters of Administration involved
              the private information of the Second Applicant. Baker also asked for the arbitral
              tribunal’s understanding, or for it to provide clear reasons for disclosure.



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       87.    On February 2, 2016, the arbitral tribunal sent a letter to Baker stating that the
              documents it had previously provided were unable to clearly state whether the
              relevant Administrators of the Estate had the legal rights to represent the Second
              Applicant in the administration or handling of its choses in action and liabilities
              in the 4.28 Agreement and/or in this case based on the Letters of Administration,
              and requested that it provide the Schedule of Assets and Liabilities dated May 25,
              2015 enclosed in the said Letters of Appointment to confirm the
              abovementioned issue.

       88.    On February 17, 2016, Baker sent a letter to the arbitral tribunal stating that with
              regard to the list of appendices in the Letters of Administration presented by the
              High Court of Hong Kong, it would not provide explanations regarding the
              reasons for the disclosure of such choses in action made in a foreign country.

       89.    On February 17, 2016, the arbitral tribunal announced to all parties via email that
              in accordance with the Order (II) stipulated by the arbitral tribunal on December
              21, 2015, the segment for the production of documents had ended. However, the
              arbitral tribunal reserves its rights under Article 22.3 in the 2013 Administered
              Arbitration Rules.

       90.    On February 19, 2016, the First Applicant submitted the electronic versions of
              the First Applicant’s request to summon expert witnesses, the First Applicant’s
              list of expert witnesses, and the First Applicant’s list of factual witnesses to the
              arbitral tribunal via email. On the same day, the Respondents asked the arbitral
              tribunal for an extension of the deadline to March 4, 2016 for the submission of
              the witness request and name list. Thereafter, also on the same day, the First
              Applicant proposed an opinion in response regarding the said request for
              extension to the arbitral tribunal, stating that it objected to the extension of the
              deadline to March 4, 2016, but agreed to extend the deadline to February 26,
              2016. On February 20, 2016, the arbitral tribunal approved the extension of the
              Respondents’ submission deadline to February 26, 2016 at 6 p.m. via email.

       91.    On February 25, 2016, the arbitral tribunal sent an email to the First Applicant
              and the Respondents with all the email/letter correspondences between the
              arbitral tribunal and Baker enclosed, and invited the First Applicant and the
              Respondents to submit, by March 11, 2016 latest, the final written opinion with
              regard to whether or not Mdm. Ke and Mdm. Zhang could represent the Second
              Applicant in this case.

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       92.    On February 26, 2016, the Respondents sent a letter to the arbitral tribunal to
              submit the list of factual witnesses the Respondents intended to summon and the
              list of expert witnesses the Respondents intended to summon, as well as the
              relevant applications.

       93.    On March 4, 2016, the Respondents sent a letter to the arbitral tribunal stating
              that, in view that the First Applicant did not submit the relevant information
              regarding the expert witnesses that the Respondents had asked for, they shall
              reserve the rights to raise opinions regarding the witnesses the First Applicant
              intended to summon, and the rights to nominate a Chinese architectural surveyor
              as an expert witness. At the same time, the Respondents stated that all parties
              should abide by the arrangements of the relevant items in Order (II) with regard
              to the matter of expert witnesses.

       94.    On the same day, that is, March 4, 2016, the First Applicant submitted a written
              opinion with regard to the necessity of the list of witnesses submitted by the
              Respondents in the letter dated February 26, 2016.

       95.    On March 9, 2016, Baker sent a letter to the arbitral tribunal requesting that the
              arbitral tribunal give a reply with regard to the information of the relevant choses
              in action and legal liabilities in the list of appendices in the Letters of
              Administration of the Second Applicant, and the requests it had made in the
              letters dated January 12, 2016 and January 18, 2016.

       96.    On March 10, 2016, the First Applicant submitted the “First Applicant’s
              Supplementary Written Opinion and the Written Opinion of Relevant Cases”
              with regard to whether Mdm. Ke and Mdm. Zhang could represent the Second
              Applicant in this case. The First Applicant believed that, in view that the Letters
              of Administration confirmed by Baker did not include the choses in action and
              legal liabilities in the 4.28 Agreement, Mdm. Ke and Mdm. Zhang lacked the
              legal powers to represent the Second Applicant in this case.

       97.    On March 11, 2016, the Respondents sent an email to the arbitral tribunal to
              reaffirm their opinion made in the letter dated January 15, 2016, that is, they did
              not object to the arbitral tribunal providing the dossier of this case for Mdm.
              Ke’s and Mdm. Zhang’s viewing, and they did not object to Mdm. Ke and Mdm.
              Zhang representing the Second Applicant in this case. On the same day, that is,
              March 11, 2016, the Respondents submitted a reply to the arbitral tribunal in


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              another email regarding the First Applicant’s objection to the necessity of the list
              of witnesses submitted on March 4, 2016.

       98.    On March 24, 2016, Baker sent a letter to the arbitral tribunal to reaffirm its
              position, that is, on Mdm. Ke and Mdm. Zhang having the right to represent the
              Second Applicant in the participation of this case, and having the opinion that
              the arbitral tribunal should immediately suspend the case before the official
              decision of the issue regarding the appointment of the Administrator of the
              Estate of the Second Application has been made.

       99.    On March 29, 2016, the Respondents sent an email to the arbitral tribunal stating
              that they had reached a consensus with the First Applicant and requested for the
              arbitral tribunal to approve the extension of the deadline for the exchange of the
              witness testimonies by all parties (that is, Item 15 of Order (II)) to April 15, 2016.
              On the same day, that is March 29, 2016, the arbitral tribunal approved the said
              request via email.

       100.   On April 6, 2016, HKIAC sent an email with an attachment to all parties on the
              “Decision Regarding the Participation of Mdm. Ke Yeying, the Daughter, and
              Mdm. Zhang Yuejin, the Widow of the Second Applicant, Mr. Ke Zhengguang
              in the Hearing of the Arbitration Case Representing the Estate of the Second
              Applicant as Administrators of the Estate of Mr. Ke Zhengguang” (“Decision
              (III)”) made by the arbitral tribunal dated April 6, 2016. The arbitral tribunal
              ruled that: (1) As the Administrators of the Estate of the Second Applicant, Mdm.
              Ke and Mdm. Zhang have the right to represent the Estate of the Second
              Applicant in the participation of the hearing of this case; (2) HKIAC shall
              immediately provide the dossier related to this case that was sent to all parties
              after the passing of the Second Applicant to Baker, the representative of the two
              administrators; (3) This case shall proceed. On the next day, that is, April 7,
              2016, the arbitral tribunal sent the said Decision (III) to all parties via email.

       101.   On April 14, 2016, Baker sent a letter to the arbitral tribunal, in view that it had
              yet to receive the related dossier of this case, to request for the suspension of the
              current arbitration proceeding, so that it could have the opportunity to fully read
              and analyze the dossier of the case.

       102.   On April 15, 2016, the First Applicant sent an email to the arbitral tribunal with
              the electronic version of the statement made by the First Applicant’s two
              witnesses enclosed. On the same day, the Respondents also sent an email to the

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              arbitral tribunal with the testimonies of the Respondents’ four witnesses
              enclosed.

       103.   On April 19, 2016, HKIAC provided Baker with the dossier of this case
              provided by the arbitral tribunal as instructed in Decision (III) via express
              courier.

       104.   On April 28, 2016, the arbitral tribunal sent an email to all parties requesting that
              Baker, as the representative of the Second Applicant, notify the arbitral tribunal
              on the amount of additional time required for its client to prepare for its
              participation in the hearing of this case. In view of the accession of Baker, (1) the
              recommendation was that all parties convene a case management conference and
              all parties were requested to confirm the time for negotiation; (2) to suspend the
              procedural schedule dated December 21 , 2015 so as to provide the Second
              Applicant with the opportunity to submit its witness testimonies (if any).

       105.   On May 3, 2016, the arbitral tribunal sent a letter to all parties and instructed
              Baker to clearly state its position on whether or not its client was requesting to
              participate in the hearing of this case.

       106.   On May 4, 2016, the First Applicant sent an email to the arbitral tribunal to
              confirm the commencement time of the case management conference. On the
              same day, the Second Applicant sent an email to the arbitral tribunal confirming
              that Mdm. Ke and Mdm. Zhang would participate in the hearing of this case as
              the Administrators of the Estate of the Second Applicant.

       107.   On May 6, 2016, the arbitral tribunal sent an email to all parties and instructed
              that the case management conference would be conducted face-to-face, and
              requested that all parties book the venue for the conference in advance.

       108.   On May 10, 2016, the First Applicant sent an email to the arbitral tribunal
              requesting that the arbitral tribunal issue an order for the Estate of the Second
              Applicant to confirm their position, with regard to the following questions, with
              the arbitral tribunal and all parties concerned in this case on or before June 2,
              2016 (1) Whether or not the Estate of the Second Applicant would request for
              claims from the First Applicant and/or the Respondents in this case; (2) Whether
              or not the Estate of the Second Applicant would adopt the existing arbitration
              petition submitted jointly by the First Applicant and the Second Applicant as its
              position for claims in this case; (3) Whether or not the Estate of the Second

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              Applicant would submit its new arbitration petition/Statement of
              Defence/response letter; (4) Whether or not the Estate of the Second Applicant
              would only participate in this case as observers. On the same day, that is, May 10,
              2016, the arbitral tribunal sent an email to all parties and instructed the Second
              Applicant to provide its opinion with regard to the First Applicant’s request no
              later than 6 p.m. on May 12, 2016.

       109.   On May 11, 2016, the Second Applicant sent an email to the arbitral tribunal to
              request for an extension of the deadline of its reply to the First Applicant’s
              abovementioned request to May 20, 2016.

       110.   On May 12, 2016, the Respondents sent an email to the arbitral tribunal, stating
              that with regard to the First Applicant’s request in the email dated May 10, 2016,
              the First Applicant should first clearly state whether or not it would still continue
              to request for the Administrators of the Estate of the Second Applicant to be
              converted to a Respondent, or to request for claims from the Administrators of
              the Estate of the Second Applicant.




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       111.   On May 13, 2016, the arbitral tribunal sent an email to all parties and approved
              the extension of the deadline requested by the Second Applicant in the email
              dated May 11, 2016.

       112.   On May 17, 2016, the arbitral tribunal sent an email to all parties and instructed
              that the arbitral tribunal would take the First Applicant’s opinion into
              consideration after the Second Applicant has replied to the First Applicant’s
              questions before the deadline on May 20, 2016.

       113.   On May 20, 2016, the Second Applicant sent an email to the arbitral tribunal in
              response to the First Applicant’s questions in the email dated May 10, 2016 (1)
              The Estate of the Second Applicant would participate in this case as the Second
              Applicant, and the Second Applicant would not request for any claims from the
              First Applicant within the scope of the arbitration agreement; (2) The Second
              Applicant would adopt the arbitration petition submitted in accordance with the
              Second Applicant’s instructions, but the Second Applicant objected to the
              amended arbitration petition submitted by the First Applicant (that is, the
              withdrawal of the Second Applicant and the adding as the Fifth Respondent); (3)
              The Second Applicant would not submit a new Statement of Defence; (4) The
              Second Applicant would attend the hearing as observers, but would be restricted
              by the conditions listed in the email.

       114.   On May 22, 2016, the arbitral tribunal sent an email to all parties and permitted
              the First Applicant to respond to the Second Applicant’s email dated May 20,
              2016 no later than 6 p.m. on May 27, 2016.

       115.   On June 3, 2016, the arbitral tribunal sent an email to all parties to remind the
              First Applicant that the deadline for its response to the Second Applicant’s email
              dated May 20, 2016 had passed and instructed it to clearly state its position. On
              June 6, 2016, the First Applicant sent an email to the arbitral tribunal stating that
              it would submit a Written Statement of the First Applicant’s Position no later
              than five days prior to the case management conference. On June 8, 2016, the
              Second Applicant sent an email to the arbitral tribunal to object to the
              abovementioned extension of deadline requested by the First Applicant and
              requested that the arbitral tribunal orders the First Applicant to submit its
              response no later than June 13, 2016.

       116.   On June 14, 2016, the First Applicant sent an email to the arbitral tribunal with
              the enclosed “First Applicant’s Written Response” that it had submitted in

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              response to the email dated May 20, 2016 sent by the Estate of the Second
              Applicant. In the said response, the First Applicant stated that, based on the
              position of the Estate of the Second Applicant in the email dated May 20, 2016,
              the First Applicant did not, at that moment, need to bring up the converting of
              the Estate of the Second Applicant to Fifth Respondent or request for the
              corresponding amendments to the arbitration petition. However, in view that the
              Estate of the Second Applicant reserving the rights to propose opinions or
              provide supplementations in the future, if the Estate of the Second Applicant
              were to proposes a position that would be different from or was unfavorable to
              the First Applicant, the First Applicant shall reserve the rights to once again
              request the arbitral tribunal to convert the Estate of the Second Applicant to a
              Respondent. The First Applicant also proposed that the arbitral tribunal order the
              Estate of the Second Applicant to submit an official written statement (including
              the confirmation that it did not have any opinions or additions to the pleadings
              and/or witness testimonies already submitted in the case at this point) on its
              position at that time and the attitude with regard to the case as mentioned above
              in the form of a pleading and/or witness statement as a “newly-added” party in
              the case. At the same time, the First Applicant requested for the guidelines of the
              current schedule to be postponed accordingly on the basis of the accession of the
              Estate of the Second Applicant.

       117.   On June 21, 2016, the arbitral tribunal sent an email to all parties and instructed
              the Second Applicant to provide its opinion on the First Applicant’s written
              response before 6 p.m. on June 23, 2016, especially regarding the two questions
              below: (1) Will the Second Applicant adopt a different position from the First
              Applicant during the arbitration process? (2) Will the Second Applicant summon
              any factual witnesses or expert witnesses?

       118.   On June 23, 2016, the arbitral tribunal sent an email to all parties and instructed
              the Respondents to confirm as soon as possible on whether or not they would
              nominate a Chinese architectural surveyor as an expert witness.

       119.   On the same day, that is June 23, 2016, Baker sent an email to the arbitral
              tribunal with the “Outline of the Second Applicant’s Written Statement” and its
              “Table of Content of Appendices” enclosed.

       120.   On June 24, 2016, the arbitral tribunal and all parties commenced the case
              management conference.

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       121.   On June 28, 2016, the arbitral tribunal sent an email to all parties with the
              enclosed procedural order and Schedule of the Hearing (“Order (III)”) dated
              June 28, 2016. In Order (III), the arbitral tribunal had approved the list of expert
              witnesses summoned by the First Applicant and the Respondents respectively,
              and formulated a Schedule of the Hearing.

       122.   On June 29, 2016, the Respondents sent a letter to the arbitral tribunal to submit
              the testimonies of the three witnesses of the Respondents. On the same day, the
              First Applicant sent an email to the arbitral tribunal to confirm that it had already
              delivered the hardcopy of the Statement of the First Applicant’s Factual
              Witnesses along with appendices to the representative of the Second Applicant
              on the same day.

       123.   On July 21, 2016, Baker sent an email to HKIAC to confirm that it had received
              all documents dated up to December 5, 2013 that were submitted to the arbitral
              tribunal before the passing of the Second Applicant (“dossiers”) provided to it in
              accordance with the requirements in Order (III). On the next day, that is July 22,
              2016, Baker sent an email to the arbitral tribunal to request for an extension of
              the deadline for the relevant procedures and actions stated in the Schedule of the
              Hearing of Order (III) in view that the abovementioned dossiers were actually
              received later than the deadline stipulated in Order (III).

       124.   On July 26, 2016, Baker sent an email to the arbitral tribunal stating that it had
              noticed that a part of the appendix of the Respondents’ “Statement of Defence
              and Counterclaim” was missing from the dossiers provided to it by HKIAC, and
              thereby requested for the arbitral tribunal to approve the extension of deadline
              that it had requested on July 22, 2016.

       125.   On July 28, 2016, the arbitral tribunal sent an email to all parties and instructed
              the First Applicant and the Respondents to provide opinions with regard to the
              request for the extension of deadline made by the Second Applicant.

       126.   On July 29, 2016, the First Applicant sent an email to the arbitral tribunal stating
              that the Second Applicant’s delay in the receipt of the dossier was due to reasons
              attributable to itself. However, under the condition that the Second Applicant
              gave the promise to the arbitral tribunal that it would not request for a further
              extension of the deadline, the First Applicant would not object to the Second
              Applicant’s request for the extension of deadline. On the same day, the
              Respondents sent an email to the arbitral tribunal stating that it would not object

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              to the Second Applicant’s request for the extension of the deadline, and
              recommended that the deadlines stated in Item 9 to 11 of the Schedule of the
              Hearing should be extended accordingly as a result of the National Day holidays.

       127.   On July 30, 2016, the Second Applicant sent an email to the arbitral tribunal to
              refute the position proposed by the First Applicant that the Second Applicant’s
              delay in the receipt of the dossiers was due to reasons attributable to itself, and
              requested that the arbitral tribunal issue the following orders: (1) Approve the
              Second Applicant’s request for extension of deadline; (2) For the Respondents to
              provide the appendices of the “Statement of Defence and Counterclaim” (that is,
              Appendix B46, C1 - C30, and D1 - D30) yet to be received by the Second
              Applicant to the Second Applicant within seven days; (3) For the Second
              Applicant to pay the reasonable expenses for the printing of the abovementioned
              appendices of the “Statement of Defence and Counterclaim” to the Respondents;
              (4) For the Second Applicant to reserve the rights to claim the abovementioned
              expenses from the First Applicant; (5) For all parties to have the freedom to
              make other requests.

       128.   On August 1, 2016, the arbitral tribunal sent an email to all parties stating that
              the arbitral tribunal agreed to amend Order (III) on the basis that the time of the
              hearing remained the same, and it promulgated a new procedural order and
              Schedule of the Hearing (“Order (IV)”).

       129.   On the same day, that is, August 1, 2016, the Second Applicant sent an email to
              the arbitral tribunal requesting the arbitral tribunal to issue orders with regard to
              the other requests made by it in the email dated July 30, 2016.

       130.   On August 2, 2016, the Respondent sent an email to the arbitral tribunal and
              agreed to conditionally provide the relevant appendices of the “Statement of
              Defence and Counterclaim” requested by the Second Applicant.

       131.   On August 5, 2016, the arbitral tribunal sent an email to all parties and instructed
              the Second Applicant and the Respondents to notify the arbitral tribunal of the
              outcome from their communications with regard to the provision of the relevant
              appendices of the “Statement of Defence and Counterclaim”. On the same day,
              the Second Applicant sent an email to the arbitral tribunal to confirm that it had
              received the relevant appendices, and that it had reserved the rights to claim the
              expenses incurred from the First Applicant for obtaining the arbitration
              documents from HKIAC and the Respondents. On the same day, the First
              Applicant sent an email to the arbitral tribunal denying the allegation of “the


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                  First Applicant illegally removed the documents from the Second Applicant’s
                  premises” made by the Second Applicant, and the relevant lawyer’s letter was
                  enclosed.

        132.      On August 15, 2016, the Second Applicant submitted the factual witness
                  statement of Mdm. Ke to the arbitral tribunal via email. On the same day, the
                  arbitral tribunal sent an email to all parties and approved the request made by the
                  Second Applicant to summon Mr. Ye Yongqing as an expert witness.

        133.      On September 3, 2016, the First Applicant sent an email to the arbitral tribunal to
                  request for the amendment of its “Reply and Defence to Counterclaim” in
                  accordance with Article 18.1 of the “2013 Administered Arbitration Rules of the
                  Hong Kong International Arbitration Centre”2 (“Request for Amendment”)
                  and the draft of its “Amended Reply and Defence to Counterclaim” was
                  enclosed. At the same time, the First Applicant requested the arbitral tribunal to
                  instruct the Respondents to submit its “Amended Further Reply to the
                  Applicants’ Reply and Defence to Counterclaim” within seven days upon the
                  submission of the “Amended Reply and Defence to Counterclaim” by the First
                  Applicant, under the condition that the arbitral tribunal, the Second Applicant,
                  and the Respondents did not object to the “Amended Reply and Defence to
                  Counterclaim” submitted by the First Applicant.

        134.      On September 8, 2016, the Respondents sent an email to the arbitral tribunal and
                  objected to the First Applicant’s submission of the “Amended Reply and
                  Defence to Counterclaim”. On the next day, that is, September 9, 2016, the First
                  Applicant sent an email to the arbitral tribunal and responded to the Respondents’
                  reasons for objection.

        135.      On September 12, 2016, the Second Applicant sent an email to the arbitral
                  tribunal stating that it agreed to the First Applicant’s request for amendment, and
                  sincerely requested the arbitral tribunal to approve the said request.



2   The arbitral tribunal noticed that the First Applicant cited the “2013 Administered Arbitration Rules of the Hong Kong
    International Arbitration Centre”. However, the “2008 Administered Arbitration Rules of the Hong Kong International
    Arbitration Centre” should be applied to this case instead. In view that, with regard to one party’s amendment or
    supplementation of its request or defence, the difference in the relevant stipulations in the two sets of rules had no
    substantial impact on the arbitral tribunal’s approval of the First Applicant’s request for amendment, the arbitral tribunal
    shall deem the abovementioned citation of the “2013 Administered Arbitration Rules of the Hong Kong International
    Arbitration Centre” by the First Applicant as a typographical error.



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       136.   On the same day, that is, September 12, 2016, the Respondents sent an email to
              the arbitral tribunal stating that all parties had reached a consensus with regard to
              the extension of the deadline in Items 8 and 9 in Order (IV) by one week, and
              requested for the arbitral tribunal’s approval. On the same day, the arbitral
              tribunal sent an email to all parties and approved the said request for the
              extension of deadline.

       137.   On September 13, 2016, the arbitral tribunal sent an email to all parties and
              instructed that the arbitral tribunal had unanimously agreed to approve the First
              Applicant’s request for amendment, but the First Applicant must pay all parties
              for all relevant expenses incurred with regard to the request for amendment. At
              the same time, the arbitral tribunal requested the First Applicant to officially
              submit the amended “Reply and Defence to Counterclaim” by September 15,
              2016, and approved the submission of the amended “Further Reply to the
              Applicants’ Reply and Defence to Counterclaim” by the Respondents to be no
              later than September 29, 2016.

       138.   On the same day, that is, September 13, 2016, the Second Applicant sent an
              email to the arbitral tribunal requesting the arbitral tribunal to provide it with an
              opportunity to submit a response letter to the arbitral tribunal with regard to the
              amendments to the “Reply and Defence to Counterclaim” made by the First
              Applicant. On September 21, 2016, the arbitral tribunal sent an email to all
              parties and stated that it did not support the Second Applicant’s request to submit
              a response letter to the arbitral tribunal with regard to the amendments to the
              “Reply and Defence to Counterclaim” made by the First Applicant.

       139.   On September 14, 2016, the First Applicant sent an email to the arbitral tribunal
              and officially submitted the appendix “Amended Reply and Defence to
              Counterclaim”.

       140.   On September 21, 2016, the First Applicant sent an email to the arbitral tribunal
              with two copies of the First Applicant’s Statement on the Refutation of Factual
              Witnesses enclosed. On the same day, the Second Applicant sent an email to the
              arbitral tribunal with Mdm. Ke’s Refutation of the Witness Statement and the
              appended evidence enclosed. On the same day, the Respondents also sent a letter
              to the arbitral tribunal, enclosing three copies of the supplementary witness
              statement of the Respondents’ three witnesses, that is, the Second Applicant, Gu
              Yong, and Liu Yuping.

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       141.   On September 29, 2016, the Respondents sent a letter to the arbitral tribunal with
              the Respondents’ “Amended Further Reply to the Applicants’ Reply and
              Defence to Counterclaim” enclosed.

       142.   On October 12, 2016, the representative of the Respondents sent an email to the
              arbitral tribunal stating that its team members had been joined by Sidley Austin
              LLP and was instructed by the Respondents to continue representing the
              Respondents in this case.

       143.   On October 14, 2016, the Respondents sent an email to the arbitral tribunal
              stating that they requested to extend the deadline for the exchange of the Expert
              Witnesses Report by all parties in Item 9 of the arbitral tribunal’s Order (IV) for
              seven days, from October 17, 2016 to October 24, 2016, upon reaching a
              consensus with all parties. However, this would not affect the deadlines for the
              subsequent items after Item 10 of Order (IV). On the same day, the arbitral
              tribunal sent an email to all parties and approved the abovementioned request
              under the condition that a consensus was reached by all parties.

       144.   On October 24, 2016, the Second Applicant sent an email to the arbitral tribunal
              requesting the extension of the deadline for the exchange of the Expert
              Witnesses Report by all parties to October 28, 2016 under the condition that the
              next deadline (that is, the commencement of the experts’ meeting on November
              28, 2016) in the arbitration schedule would not be affected. The Second
              Applicant stated that it had already solicited the opinion of the First Applicant
              and the representative of the Respondents with regard to the said request, and the
              representative of the Respondents had agreed to it. However, the representative
              of the First Applicant had not provided any replies yet. On the same day, that is,
              October 24, 2016, the First Applicant sent an email to the arbitral tribunal stating
              that it did not object to the Second Applicant’s abovementioned request, but it
              hoped that the arbitral tribunal issue an “unless” order with regard to this request
              for extension of deadline. On the same day, the arbitral tribunal sent an email to
              all parties and approved the abovementioned request for extension of deadline
              made by the Second Applicant. The arbitral tribunal also stated that it would not
              allow any requests for the extension of deadlines to be made unless there were
              unusual or special reasons, in order to prevent the commencement date of the
              hearing from being affected.



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       145.   On October 28, 2016, the Second Applicant sent an email to the arbitral tribunal
              requesting to provide the first round of the unsigned expert report on the basis
              that the rights of all parties would not be affected on that day. On the same day,
              the First Applicant sent an email to the arbitral tribunal and objected to the
              Second Applicant’s submission of the first round of the unsigned expert report.
              Thereafter, the arbitral tribunal sent an email to all parties on the same day and
              requested the Second Applicant to clarify the reasons for its unsigned expert
              report and when they could be signed; and whether or not the content in the
              signed expert report was fully consistent with the content in the unsigned expert
              report. Subsequently, the Second Applicant sent an email to the arbitral tribunal
              to explain the reasons for its request, and requested the arbitral tribunal to issue
              an order on whether or not the first round of the Expert Witnesses Report could
              be exchanged under the condition that the rights of all parties would not be
              affected.

       146.   On the same day, that is, October 28, 2016, the First Applicant sent an email to
              the arbitral tribunal with two copies of the First Applicant’s Expert Witnesses
              Report enclosed. On the same day, the Second Applicant and the Respondents
              also sent emails to the arbitral tribunal separately, stating that they had delivered
              their signed Expert Witnesses Report to all the other parties without prejudice.

       147.   On November 15, 2016, the Second Applicant sent an email to the arbitral
              tribunal stating that, based on all the reasons listed in this email, the Second
              Applicant and Respondents unanimously deemed that the experts’ meeting
              should commence on a “without prejudice” basis, and the representatives of all
              parties were not required to participate. The Second Applicant requested the
              arbitral tribunal to give instructions with regard to this matter.

       148.   On November 21, 2016, the arbitral tribunal sent an email to all parties and
              approved that the experts’ meeting should commence on a “without prejudice”
              basis.

       149.   On December 13, 2016, the Respondents sent a letter to the arbitral tribunal
              stating that, in view that they had received different and even conflicting
              instructions and/or requests made by the First Applicant and the Second
              Applicant, respectively, they requested the arbitral tribunal to issue the
              following orders: (1) Instruct the Second Applicant (through its Administrators
              of the Estate) to express its opinions with regard to the two requests made by the

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              First Applicant in the letter dated December 9, 2016; (2) Instruct the First
              Applicant to express its opinions with regard to the recent request made by Mdm.
              Zhang; and (3) Unless the Applicants reach a consensus and provide a joint
              request to the Respondents, the Respondents shall not accept the unilateral
              instructions given by either the First Applicant or the Second Applicant.

       150.   On December 21, 2016, the Respondents sent an email to the arbitral tribunal
              stating that upon reaching a consensus by all parties, they requested to extend the
              deadline of the submission of the joint report on the statement of the viewpoints
              that were unanimously agreed upon by the expert witnesses and the statement of
              their differing viewpoints to January 4, 2017.

       151.   On December 30, 2016, the Second Applicant sent an email to the arbitral
              tribunal and enclosed its reply to the Respondents’ letter dated December 13,
              2016.

       152.   On December 31, 2016, the First Applicant sent an email to the arbitral tribunal
              and provided a reply to the Respondents’ letter dated December 13, 2016 and the
              Second Applicant’s letter dated December 30, 2016.

       153.   On January 11, 2017, the arbitral tribunal sent an email to all parties. The arbitral
              tribunal stated that it held that the mutual recriminations and allegations made by
              all parties were not related to this case. Hence, the arbitral tribunal would not
              take this matter into consideration or make judgements with regard to this matter.
              With regard to the “without prejudice” letter dated December 9 submitted by the
              Respondents to the First Applicant, the arbitral tribunal requested all parties to
              confirm that the arbitral tribunal would be able to continue hearing this case,
              regardless of whether a copy of the said letter was sent to the arbitral tribunal.
              The arbitral tribunal also reminded all parties to submit the joint expert reports.

       154.   Between January 12 - 13, 2017, all parties sent emails to the arbitral tribunal to
              confirm that the arbitral tribunal would be able to continue hearing this case.

       155.   On January 13, 2017, the Respondents sent an email to the arbitral tribunal
              stating that upon reaching a consensus by all parties, they requested to extend the
              deadline of the submission of the joint expert report to January 25, 2017. The
              arbitral tribunal sent an email to all parties on January 19, 2017 and approved the
              said request for extension of deadline under the condition that the overall
              Schedule of the Hearing would not be affected.

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       156.   On February 16, 2017, the First Applicant sent an email to the arbitral tribunal
              and recommended that instructions be given by the arbitral tribunal with regard
              to the time of the pretrial conference.

       157.   On February 21, 2017, the Respondents sent a letter to the arbitral tribunal,
              enclosing (1) “Joint Expert Opinion Regarding the Issue on Equity Transfer and
              Issue on Taxes” jointly submitted on behalf of the Applicants and Respondents;
              and (2) “Joint Expert Opinion Regarding the Issue on Property” jointly
              submitted on behalf of the First Applicant and Respondents.

       158.   On February 27, 2017, the arbitral tribunal sent an email to all parties and
              notified them of the specific commencement time of the pretrial conference,
              which would be held on April 3, 2017. The arbitral tribunal also notified all
              parties that, as there was a conflict of time for one of the arbitrators, the arbitral
              tribunal agreed to allow the Chief Arbitrator to preside the pretrial conference on
              his own, and requested all parties’ confirmation on this. All parties sent emails to
              the arbitral tribunal separately between February 27 - 28, 2017 to confirm that
              they agreed with the abovementioned arrangement.

       159.   On March 1, 2017, the Respondents sent an email to the arbitral tribunal,
              enclosing (1) Mdm. Yu Jian’s Advisory Report of the Evaluation of the Byland
              Villa Project; (2) Mdm. Yu Jian’s Advisory Report of the Evaluation of the
              Greencourt Sun City Project; and (3) Mr. Ji Nuo’s Expert Opinion Letter and
              Summary of the Cited Laws and Regulations.

       160.   On March 6, 2017, the First Applicant sent a recommendation to the arbitral
              tribunal and made a complaint against the Respondents, stating that there were
              major additions or changes to the content of “Mr. Ji Nuo’s Expert Opinion Letter
              and Summary of the Cited Laws and Regulations” submitted by the Respondents
              on March 1, 2017, as compared to the Mr. Ji Nuo’s Expert Opinion Letter
              exchanged and submitted on October 28, 2016. The First Applicant requested
              the arbitral tribunal to issue an instruction on the refusal to accept all expert
              reports submitted by the Respondents in the email dated March 1, 2017, and to
              forbid either party to submit any new or amended expert reports.

       161.   On the same day, that is, March 6, 2017, the Second Applicant also sent an email
              to the arbitral tribunal and also objected to the Respondents’ submission of the
              new expert report with content that was different from the version of the expert
              report submitted by them on February 21, 2017. It also requested the arbitral

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              tribunal to reject the expert report submitted by the Respondents on March 1,
              2017.

       162.   On March 7, 2017, the arbitral tribunal sent an email to all parties and instructed
              the Respondents to reply to the abovementioned viewpoint and
              recommendations made by the First Applicant and the Second Applicant before
              6 p.m. on March 9, 2017.

       163.   On March 9, 2017, the arbitral tribunal sent an email to all parties and
              recommended the adjustment of the commencement date of the hearing to May
              16, 2017, instead of the original dates from May 15 to 26, 2017 (ten working
              days), due to the last-minute and urgent arrangement of one of the arbitrators,
              and where necessary, extend the time of the daily hearings. The arbitral tribunal
              requested all parties to confirm the above arrangement recommended by the
              arbitral tribunal before the pretrial conference on April 3, 2017. All parties sent
              emails to the arbitral tribunal separately between March 9 - 10, 2017 to confirm
              that they agreed with the abovementioned arrangement.

       164.   On March 9, 2017, the Respondents sent an email to the arbitral tribunal to reply
              to the Applicants’ request for rejection in the email dated March 6, 2017, and
              requested the arbitral tribunal to reject the Applicants’ request for rejection. On
              March 10, 2017, the arbitral tribunal sent an email to all parties and instructed
              the First Applicant and the Second Applicant that, if they intended to reply to the
              Respondents’ email, they would have to provide a reply before March 14, 2017.

       165.   On March 13 and 14, 2017, the First Applicant and the Second Applicant sent
              letters to the arbitral tribunal separately and provided their replies to the
              Respondents’ email dated March 9, 2017.

       166.   On March 29, 2017, the First Applicant sent an email to the arbitral tribunal
              enclosing a copy of the agenda of the pretrial conference jointly drafted by all
              parties.

       167.   On March 30, 2017, the Respondents sent an email to the arbitral tribunal and
              stated that they were willing to provide a copy of the Comparison Version of Mr.
              Ji Nuo’s Final Expert Opinion Letter and the version dated October 28, 2016
              (“comparison version”) de bene esse (conditionally) to prove that the final
              version did not have “major additions or changes to the content” as described by
              the First Applicant. On such basis, the arbitral tribunal sent an email on the same

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              day and instructed the Respondents to provide the comparison version for
              review by the arbitral tribunal, as well as by the First and Second Applicant.

       168.   On March 31, 2017, the Second Applicant sent an email to the arbitral tribunal
              stating that it objected to the Respondents’ provision of the comparison version
              de bene esse, and also objected to the official submission of the comparison
              version by the Respondents. It also requested the arbitral tribunal to reject the
              Respondents’ request to submit the comparison version or to not take the said
              comparison version into consideration. On the same day, on March 31, 2017, the
              Respondents sent an email to the arbitral tribunal and provided the comparison
              version to all parties. The First Applicant also provided a reply to the email on
              the Respondents’ submission of the comparison version on the same day.

       169.   On April 2, 2017, the arbitral tribunal sent an email to all parties to summarize
              the email correspondences with regard to the comparison version and the main
              position of all parties, and stated that it would further communicate with all
              parties during the pretrial conference.

       170.   On April 3, 2017, the arbitral tribunal and all parties commenced the pretrial
              conference at HKIAC.

       171.   On April 4, 2017, the arbitral tribunal sent an email to all parties and instructed
              that it: (1) Permitted Mr. Ji Nuo’s Expert Opinion Letter submitted by the
              Respondents on October 28, 2016; (2) Rejected the amendments to Paragraph 8,
              Paragraph 9, and Paragraph 32 in Mr. Ji Nuo’s Expert Opinion Letter and
              Summary of the Cited Laws and Regulations submitted by the Respondents on
              March 1, 2017; (3) Rejected Note 3, Note 7, Note 22, Note 23, Note 24, and the
              deleted Note 5 (at the same time, refer to point 4 below) in Appendix II of Mr. Ji
              Nuo’s Expert Opinion Letter submitted by the Respondents on March 1, 2017;
              (4) Permitted all sentences of “Refer to Page [x] of the Summary of the Laws and
              Regulations” and the “Summary of the Cited Laws and Regulations” (except for
              Note 3, Note 7, Note 22, Note 23, Note 24, and the deleted Note 5) in Appendix
              II of Mr. Ji Nuo’s Expert Opinion Letter submitted by the Respondents on
              March 1, 2017; (5) Permitted the “Summary of the Cited Laws and Regulations”
              submitted by the Respondents on March 1, 2017; (6) Did not support the
              issuance of any orders as to costs.

       172.   On April 5, 2017, the arbitral tribunal issued a procedural order (“Order (V)”) to
              all parties with regard to the details of the hearing arrangement via email.

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       173.   On April 11 and 19, 2017, the arbitral tribunal sent an email to all parties and
              provided supplementary instructions with regard to the issues related to the
              dossiers of the hearing.

       174.   On May 5, 2017, the First Applicant and the Second Applicant sent emails to the
              arbitral tribunal separately, enclosing the electronic version of the Written
              Statement Prior to the Hearing (including “Authorities”) submitted by each of
              them.

       175.   Between May 5 - 6, 2017, all parties sent an email to the arbitral tribunal
              separately and stated that they were unable to submit the relevant Chronology
              and Introduction of the People Involved in the Case before the deadline
              stipulated in Order (V) because all parties were unable to reach a consensus with
              regard to the Chronology and content of the Introduction of the People Involved
              in the Case. At the same time, the Respondents recommended that the deadline
              for the submission of the said documents be extended to 6 p.m. on May 9, 2017.
              On May 7, 2017, the arbitral tribunal approved the extension of the said deadline
              to 2 p.m. on May 8, 2017.




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       176.      On May 8, 2017, the Respondents sent an email to the arbitral tribunal stating
                 that upon reaching a consensus with both Applicants, they requested to extend
                 the deadline of the submission of the Respondents’ Written Statement Prior to
                 the Hearing to 6 p.m. on May 9, 2017. The arbitral tribunal approved the said
                 request on the same day, that is, May 8, 2017. On May 9, 2017, the Respondents
                 sent an email to the arbitral tribunal, enclosing the electronic version of the
                 Written Statement Prior to the Hearing and “Authorities” submitted by them. On
                 the next day, that is, May 9, 2017, the Respondents resubmitted the electronic
                 version of the “Authorities” to the arbitral tribunal via email as there were
                 missing pages in the electronic version of the “Authorities”.

       177.      On May 9, 2017, the Second Applicant sent an email to the arbitral tribunal,
                 enclosing the: (1) Chronology; and (2) Introduction and Relationship Chart of
                 the People Involved in the Case of all parties. The Second Applicant stated that
                 the above documents covered the position of all parties, but as all parties were
                 unable to reach a full consensus with regard to the content of the said documents
                 within the stipulated deadline, the Applicants had added markings and
                 comments in the portions of the documents where the opinions of the parties
                 were different for the arbitral tribunal’s reference.

       178.      On May 14, 2017, the arbitral tribunal sent an email to all parties and instructed
                 all parties to inform the witnesses of the arbitration of the time and order of their
                 appearance before 3 p.m. on May 15, 2017. The arbitral tribunal also instructed
                 that the arbitral tribunal wished to receive a copy of the schedule that had been
                 formulated upon the consensus of all parties.

       179.      On May 15, 2017, the First Applicant sent an email to the arbitral tribunal with
                 the electronic version of the List of the First Applicant’s Supplementary Laws
                 and Regulations in the Applicants’ Written Statement Prior to the Hearing
                 enclosed. On the same day, on May 15, 2017, the Respondents sent an email to
                 the arbitral tribunal with the (1) Amended “Authorities” of the Respondents’
                 Written Statement Prior to the Hearing3; and (2) Relevant Schematic Diagram of
                 the Structure of Equity Transfer and Checklist of the Steps enclosed.




3   “Legal Judgements” was original document used in the Respondents’ emails and its appendices.



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       180.   On May 16, 2017, the First Applicant sent an email to the arbitral tribunal with
              the time and order of the appearance of the witnesses that was jointly discussed
              by all parties enclosed.

       181.   On May 16, 2017, the arbitral tribunal and all parties commenced the hearing.
              The hearing was conducted consecutively from May 16, 2017 to May 25, 2017
              and ended on May 25, 2017. On August 8, 2017, the arbitral tribunal held a
              hearing to take all parties’ closing argument into consideration.

       182.   On the first day of the trial on May 16, 2017, all parties agreed to delete the
              following paragraph for the purpose of the trial: That is, (a) Paragraphs 56-65 of
              the statement of Xu Hongbiao’s statement (Pages 24-27 in Dossier B); (b)
              Paragraphs 23-24 of the statement of Xu Hongbiao’s rebuttal to the factual
              witness (Page 104 in Dossier B); (c) Paragraphs 5-6 (Page 134 in Dossier B),
              Paragraphs 19-31 (Pages 135-137 in Dossier B, and Paragraphs 39-59 (Pages
              138-142 in Dossier B) of Ke Yeying’s rebuttal to the witness’ statement.

IV.    Factual Background




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       183.   Oasis Investment (First Respondent) is a company registered and established in
              the British Virgin Islands on July 26, 2001. It is also the parent company of the
              following three companies: Shanghai Greencourt Property Development Co.,
              Ltd (“Greencourt Property Development”), Greencourt Properties Limited
              (“Greencourt Properties”), and Shanghai Oasis Kechuang Ecological
              Technology Co., Ltd. (“Oasis Kechuang”). Other than Greencourt Properties,
              which was established in Hong Kong, both Greencourt Property Development
              and Oasis Kechuang were established within China.

       184.   The total number of shares issued by Oasis Investment was 48,000 shares. The
              original equity distribution was as follows: Xu Hongbiao (First Applicant) held
              8,000 shares (16.6%), Ke Zhengguang (deceased, his Estate is the Second
              Applicant of this case) held 8,000 shares (16.6%), Yu Naifen Stephany (Second
              Respondent) held 23,520 shares (49%), Yu Naiwen (Third Respondent) held
              8,000 shares (16.6%), and Yu Naiyun (Fourth Respondent) held 480 shares (1%).
              As the total shares held by Yu Naifen Stephany, Yu Naiwen, and Yu Naiyun
              accounted for 66.6% of the shares, they were referred to as the “Controlling
              Shareholders” in the 4.28 Agreement. Xu Hongbiao and Ke Zhengguang were
              referred to as the “Non-controlling Shareholders” in the 4.28 Agreement.

       185.   Since early 2009, the Controlling Shareholders and the Non-controlling
              Shareholders started discussions with regard to issues on share restructuring for
              Oasis Investment. The discussion process and content can be seen in the
              following documents: “Minutes of the Greencourt Meetings of Shareholders and
              Board of Directors Regarding the Splitting of Assets and Other Related Matters”
              [D2/61/607] dated March 24, 2009, “Minutes for the Greencourt Shareholders’
              Meeting Convened on August 20, 2009” (also referred to as “8.20 Minutes”
              [D2/63/615] dated September 4, 2009, “Preliminary Agreement on Share
              Restructuring for Oasis Investment Group Limited” (“Restructuring
              Agreement”) [D2/68/622] dated November 9, 2009, and “Meeting Minutes”
              [D2/96/718] dated February 3, 2010.




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       186.      In the end, both parties and the related companies concluded the “4.28
                 Agreement”4 on April 28, 2010, and its main content was as follows:

                 (1)         Ke Zhengguang and Xu Hongbiao would transfer the equity they each
                             held in Oasis Investment to Cheergain International Group Limited
                             (“Cheergain International”) and Focus Town Limited (“Focus
                             Town”) respectively. After the said transfers had been completed,
                             Oasis Investment then repurchase the equity of Oasis Investment held
                             by Cheergain International and Focus Town respectively (“Equity
                             Transfer before Repurchase”). The Respondents agreed to the above
                             arrangement and were willing to provide the necessary cooperation:
                             See Article 1.1 [D2/100/751].

                 (2)         Oasis Investment must pay consideration to the Non-controlling
                             Shareholders in three parts, including cash consideration, equity
                             consideration, and consideration of property exchange with regard to
                             the Equity Transfer before Repurchase:

                 (3)         For cash consideration, a total of RMB 250 million was to be paid in
                             three installments, and they were: [RMB] 80 million, 20 million, and
                             150 million, respectively; for the payment made in each period, the
                             necessary prerequisites must be met: See Article 2.1 and Article 2.2
                             [D2/100/752].

                 (4)       The equity consideration was to be calculated and paid based on 100%
                            of the equity of Shanghai Greencourt Four-Season-Flower-City
                            Property Development Co., Ltd. (“SJHC”): See Article 2.3
                            [D2/100/754]. The aim of the arrangement made under the 4.28
                            agreement was to allow the Non-controlling Shareholders to fully own
                            and control SJHC.

                 (5)         For the consideration of property exchange, Oasis Investment and
                             the Controlling Shareholders must appoint Greencourt Property
                             Development and the Non-controlling Shareholders (or its appointed


4   There were ten signatories of the 4.28 Agreement. They were (i) Oasis Investment; (ii) Yu Naifen Stephany; (iii) Yu
    Naiwen; (iv) Yu Naijun; (v) Ke Zhengguang; (vi) Xu Hongbiao; (vii) Cheergain International Group Limited; (viii)
    Focus Town Limited; (ix) Greencourt Properties; and (x) Oasis Kechuang.



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                         third party) to conclude the “Shanghai Real Estate Sale and Purchase
                         Contract” and transfer the property for commercial use of
                         approximately 8,000 square meters, located at Jiuting, Songjiang
                         District, Shanghai City (“Jiuting Stores”) Greencourt Sun City Real
                         Estate Project held by Greencourt Property Development to the
                         Non-controlling Shareholders (or its appointed third party). At the
                         same time, SJHC and Oasis Investment or a third party appointed by the
                         Controlling Shareholders shall conclude the “Villa Order Contract” and
                         transfer the two buildings of A2-type villas on Central Island
                         (“A2-Type villas”) of the Peninsula Villa Project located at Fengpu
                         Industrial Area, Fengxian District, Shanghai City that it had developed
                         to Oasis Investment or a third party appointed by the Controlling
                         Shareholders. All parties confirmed that the value of the property
                         involved in the abovementioned “Shanghai Real Estate Sale and
                         Purchase Contract” and “Villa Order Contract” were all priced at RMB
                         72 million. As the prices of the two properties were equivalent, the
                         consideration for this item was deemed as a mutual offset: See Article
                         3.1 to Article 3.3 [D2/100/755].

              (6)        Starting from the date of conclusion of the Agreement, the related party
                         transactions between SJHC and Oasis Investment and its subsidiary
                         companies should be terminated; all the pre-existing [intragroup] debts
                         and claims should be settled within one month: See Article 3.6
                         [D2/100/756].

       187.   After the conclusion of the 4.28 Agreement, the Equity Transfer before
              Repurchase by Cheergain International and Focus town was completed on May
              4, 2010 [D2/110 - 114/791 - 799]. That is, the Non-controlling Shareholders had
              promptly fulfilled a part of its obligations under the 4.28 Agreement. However,
              the Non-controlling Shareholders and Controlling Shareholders had a dispute
              with regard to the cash consideration, equity consideration, and consideration of
              property exchange of the share repurchase, as well as issues on the settlement of
              the debts and claims, which eventually led to this arbitration.

V.     Disputed Matters and Position of Both Parties

       A.     Cash Consideration



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       188.   With regard to cash consideration, Oasis Investment had paid the amount for the
              first and second installments (a total of RMB 100 million) to the Non-controlling
              Shareholders in accordance with the stipulations in the 4.28 Agreement.

       189.   However, Oasis Investment had not yet paid the amount for the third installment
              (estimated to be RMB 150 million. The final amount should be adjusted in
              accordance with the stipulations in Article 2.2.1 (4) of the 4.28 Agreement).
              According the Article 2.2.1 (3), the amount for the third installment must be paid
              before December 31, 2012, under the condition that the following prerequisites
              were met:

              (1)        The government approvals and registration procedures for the equity
                         transfer of SJHC must be already completed;

              (2)        Oasis Investment must have completed the registration procedures for
                         the change in shareholders required for the repurchase of the equity of
                         the Non-controlling Shareholders;

              (3)        The Non-controlling Shareholders and Controlling Shareholders must
                         have reached an agreement with regard to the arrangements for the
                         payment of cash consideration and the adjusted amount of each item as
                         stipulated in Article 2.1;

              (4)        The Non-controlling Shareholders must have confirmed that the
                         payment of equity consideration stipulated in Article 2.3.5 of the 4.28
                         Agreement had been completed and all parties have no objections to the
                         above;

              (5)        The “Shanghai Real Estate Sale and Purchase Contract” of Jiuting
                         Stores as described in Article 3.1 of the 4.28 Agreement and the
                         “Shanghai Real Estate Presale Contract” of A2-type villas as described
                         in Article 3.2 of the 4.28 Agreement must be concluded and the
                         registration procedures for the transfer of ownership or presale must be
                         completed at the Real Estate Registration Authority.

       190.   The Non-controlling Shareholders and the Controlling Shareholders both
              alleged that items (1), (3), (4) and (5) of the abovementioned prerequisites had
              not been fully met due to the breach of contract by the other parties. It was
              undisputed by both parties that item (2) of the prerequisites had been completed.


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       B.     Equity Consideration

       Equity Transfer Structure

       191.   Article 2.3.1 of the 4.28 Agreement stipulates that:

              “Oasis Investment has newly incorporated Shibang Company Ltd (“Shibang
              Company”) in Hong Kong and has arranged for Shibang Company to acquire
              80% of the equity interest in [SJHC] held by [Greencourt Properties], a
              subsidiary of Oasis Investment in Hong Kong. After the completion of the said
              equity acquisition, Oasis Investment shall sign the “Equity Purchase Option
              Agreement” with [Cheergain International] and [Focus Town] and agree that
              upon the expiration of the entrustment period mentioned in Article 2.3.2 below,
              100% of the equity of Shibang Company shall be transferred to [Cheergain
              International] and [Focus Town] at a consideration of HKD 1”

       192.   Article 2.3.2 of the 4.28 Agreement further stipulates that:

              “All Parties Agree That: After Oasis Investment’s signing of the Equity
              Purchase Option Agreement for the equity transfer of Shibang Company to
              [Cheergain International] and [Focus Town], Greencourt Properties is to sign
              the relevant Entrustment Agreement with [Cheergain International] and [Focus
              Town]. This agreement shall stipulate that: (1) [Cheergain International] and
              [Focus Town] are entrusted by Greencourt Properties to manage Shibang
              Company and to exercise the shareholders’ rights on its behalf for three years
              (the “entrustment period”); (2) during the entrustment period, the
              Non-controlling Shareholders are responsible for all the debts and claims, risks
              and liabilities of Shibang Company and SJHC. If for any reason the Controlling
              Shareholders, Oasis Investment or Greencourt Properties are required to bear
              the debts and claims, risks and liabilities of Shibang Company or SJHC during
              the entrustment term, the Non-controlling Shareholders are required to fully
              compensate the Controlling Shareholders, Oasis Investment and Greencourt
              Properties.”

       193.   While Article 2.3.3 of the 4.28 Agreement stipulates that:

              “The remaining 20% of the equity of [SJHC] currently held by [Oasis
              Kechuang], a subsidiary of Oasis Investment, is to be transferred to a domestic
              company in China appointed by the Non-controlling Shareholders (“Onshore
              Payment of Equity Consideration”). If under the laws of the People’s Republic

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              of China, an actual payment of consideration is required to be made for such
              equity transfer, the provisions of the abovementioned Article 2.2.1(4)(a) shall
              apply.”

       194.   Article 2.3.4 of the 4.28 Agreement stipulates that:

              “All Parties Agree That: The Non-controlling Shareholders shall be
              responsible for all the tax and expenses incurred due to the Onshore Payment of
              Equity Consideration, as well as the tax and expenses incurred offshore due to
              the entrustment arrangement made by Shibang Company and the equity transfer
              of Shibang Company to [Cheergain International] and [Focus Town]. Apart
              from this, the sharing of the tax and expenses relating to the payment of Equity
              Consideration is to be negotiated by all the Parties in due course. All procedures
              relating to the onshore and offshore payment of Equity Consideration, such as
              applications, registrations and government procedures, etc. are to be
              undertaken by the Non-controlling Shareholders while the Controlling
              Shareholders and Oasis Investment are to provide the necessary assistance.
              (underlines added later)

       C.     Consideration of Property Exchange

       195.   The 4.28 Agreement stipulates a property exchange by both parties, that is: The
              exchange of the Jiuting Stores and A2-type villas and they shall both be deemed
              as considerations. The position of the Applicants was: The 4.28 Agreement
              confirmed that both parties shall not make actual payment for the value of the
              property as the value of the Jiuting Stores and A2-type villas were both priced at
              RMB 72 million and were mutually offset. Hence, there were no issues with
              regard to whether or not the Jiuting Stores and A2-type villas were actually
              equivalent. Furthermore, it was also clearly stated in Article 3.2 of the
              Agreement that the two buildings of the A2-type villas had a “drawing area of
              1,200 square meters each”, but it was never mentioned or suggested in the
              Agreement that the price of RMB 72 million was calculated based on the
              saleable gross floor area.

       196.   Whereas, the Respondent declared that the price of RMB 72 million of the
              A2-type villas was calculated based on (1) the saleable gross floor area of the
              two buildings of the villa, which was 2,400 square meters in total, and (2) the
              average price of every square meter of the gross floor area not being lower than


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                 RMB 31,500. The Respondents declared that this was the basis of both parties’
                 agreement on Article 3.3 of the 4.28 Agreement.

       197.      Below, the arbitral tribunal provided an overview of all the claims of all parties
                 that were not fulfilled as agreed with regard to cash consideration, equity
                 consideration, and consideration of property exchange. If the arbitral tribunal did
                 not specially point out the statement or viewpoint of a certain party in this
                 arbitral award, this does not mean that the arbitral tribunal failed to consider the
                 portion of the statement. In view of the wide range of statements made by all
                 parties in this case, the arbitral tribunal held that it was not necessary to list every
                 statement made by the parties concerned. It was also not practical to list every
                 statement made by the parties concerned in this arbitral award. The arbitral
                 tribunal had read and carefully considered the statements made by all parties.
                 The members of the arbitral tribunal had also conducted discussions with regard
                 to the statements made by all parties.

       Payment of Cash Consideration

       198.      The Applicants held that in accordance with Article 2.2.1 (3)(d) in the 4.28
                 Agreement, one of the prerequisites in the clause regarding the payment of cash
                 consideration by the Controlling Shareholders was that the Non-controlling
                 Shareholders confirmed that the payment for equity consideration as stipulated
                 in Paragraph 2.3.5 of the 4.28 Agreement had been completed, and all parties
                 had no objections to this. However, “both parties of the arbitration had disputes
                 with regard to each of the following steps of equity transfer: (1) Shibang
                 Company’s acquisition of 80% of the equity of SJHC held by Greencourt
                 Properties; (2) The transfer of the equity of Shibang Company to Focus Town
                 Limited and Cheergain International owned by the Non-controlling
                 Shareholders made by Oasis Investment; (3) The transfer of “20%” 5 of the
                 equity of SJHC held by Oasis Kechuang to a domestic company within China
                 established by the Non-controlling Shareholders (that is, Shanghai Luhao
                 Trading Co., Ltd. (hereinafter referred to as “Luhao Trading”). The reason for
                 the incomplete equity transfer of these three items should be attributable to the
                 Respondents.


5   There was a typographical error wrongly written as 80% in the concluding statement of the Applicants.



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       199.   The Respondents agreed to the claim that the prerequisites were not met, but
              held that the Applicants should be responsible for the prerequisites stipulated in
              Paragraph B to Paragraph D of Article 2.2.1 (3) that were not being met.

       200.   As described in Paragraphs 189-190 above, Oasis Investment had not yet paid
              the said amount to the Non-controlling Shareholders as certain prerequisites for
              the payment of the said amount were not met. The reasons for prerequisites not
              being met were related to the incomplete payment of the equity consideration.
              Hence, the arbitral tribunal shall provide an overview of the position of all
              parties in the portion involving equity consideration below.

       Payment of Equity Consideration

       201.   With regard to the payment of equity consideration, Article 2.3.5 of the 4.28
              Agreement stipulates that the equity consideration shall be deemed as completed
              after the conclusion of the two sets of agreements below: (1) The “Equity
              Purchase Option Agreement” as described in Article 2.3.1, and (2) the
              “Entrustment Agreement” as described in Article 2.3.2. In accordance with the
              stipulations in the 4.28 Agreement, Oasis Investment and the Controlling
              Shareholders should conclude an “Equity Purchase Option Agreement” with
              Cheergain International and Focus Town. Under this Agreement, Oasis
              Investment shall transfer 100% of its equity in Shibang Company to Cheergain
              International and Focus Town established by the Non-controlling Shareholders
              at a consideration of HKD 1. Upon the conclusion of the abovementioned
              “Equity Purchase Option Agreement” of Shibang Company, Greencourt
              Properties shall conclude an “Entrustment Agreement” with Cheergain
              International and Focus Town. Under this Agreement, all parties agree that (a)
              Cheergain International and Focus Town shall be authorized by Greencourt
              Properties to manage Shibang Company, and they may exercise shareholders
              rights on behalf of it for three years; (b) During three-year entrustment period,
              all debts and claims, liabilities, and risks of Shibang Company and SJHC shall
              be borne by the Non-controlling Shareholders. The Non-controlling
              Shareholders shall also be liable for compensation to the Controlling
              Shareholders with regard to the actual debts and claims, liabilities, and risks
              borne by the Controlling Shareholders.

       202.   The Applicants claimed that the transfer of SJHC involved the three following
              steps: (1) Oasis Investment should assist Shibang Company with the completion

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                 of the acquisition of 80% of equity of SJHC held by Greencourt Properties
                 (“acquisition by Shibang”, i.e. the first step of the transfer of 80% equity of
                 SJHC); (2) After the expiration of the three-year entrustment period, Oasis
                 Investment should transfer the equity of Shibang Company to Focus Town and
                 Cheergain International established by the Non-controlling Shareholders (i.e.
                 the second step of the transfer of 80% equity of SJHC); (3) Oasis Kechuang
                 should transfer its [20%]6 equity in SJCH to a domestic company (i.e. Luhao
                 Trading) in China designated by the Non-controlling Shareholders. The
                 Applicants claimed that both [Applicants and Respondents] of the arbitration
                 have disputes concerning each of the above equity transfer steps. However, the
                 fundamental reason for the incomplete transfer of the equity of SJHC was
                 caused by the Controlling Shareholders’ violation of their contractual
                 obligations under 4.28 Agreement and serious delays.




6   There was a typographical error wrongly written as 80% in the concluding statement of the Applicants.



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       203.   The Respondents claimed that there were three reasons why Shibang Company
              failed to complete the purchase: (1) Upon signing the 4.28 Agreement, the
              equity of Greencourt Properties in SJHC was only 69% and it did not enjoy the
              preferential tax treatment under the “Notice on Several Issues Concerning
              Corporate Income Tax Treatment of Enterprise Restructurings promulgated by
              the Ministry of Finance and the State Administration of Taxation” promulgated
              by the Ministry of Finance and State Administration of Taxation on April 30,
              2009 (hereinafter referred to as “Document No. 59”) (at least 75% required),
              thus it had to increase its capital to at least 75%, and this capital increase was
              only completed in July 2011 (increased to 80%); (2) The Controlling
              Shareholders only “arranged” for Shibang Company’s acquisition obligations
              under Article 2.3.1, and this obligation was fulfilled when they established
              Shibang Company; (3) The Non-controlling Shareholders had actual control
              over SJHC at that time, but they did not provide the audit report and/or
              evaluation report of SJHC, which made it impossible for the Controlling
              Shareholders to submit a “reasonable equity transfer price” to the relevant
              government agency, thereby causing Shibang Company to fail in the completion
              of the acquisition.

       204.   The Applicants claimed that:

              Firstly, the fundamental reason for the unsuccessful acquisition by Shibang
              Company was that the Controlling Shareholders had violated the provision of
              Article 2.3.1 of the 4.28 Agreement and did not provide the most basic equity
              transfer agreement between Greencourt Properties and Shibang Company
              regarding the transfer of 80% equity of SJHC (“80% equity transfer
              agreement”), resulting in the inability to proceed with the transfer (not to
              mention completion).

              Secondly, according to the expressed provisions of Article 2.3.1 of the 4.28
              Agreement, the acquisition by Shibang Company had been carried out when the
              4.28 Agreement was signed. Based on the principle of contractual estoppel and
              the principle of estoppel by convention, the Controlling Shareholders could not
              go back on their promise and say that they had only needed to “arrange” for
              Shibang’s acquisition, ignoring the importance of the obligation of “acquisition”
              itself. In addition, they also could not go back on their promise and say that
              Shibang Company had not completed the acquisition. Therefore, even if the
              acquisition by Shibang Company had not taken place as the capital increase of
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              SJHC had not been completed upon the signing of the 4.28 Agreement, it should
              not affect the reliance of the Non-controlling Shareholders on the clear meaning
              and validity of Article 2.3.1, that is, the Controlling Shareholders have the
              responsibility to complete the acquisition by Shibang Company to enable
              themselves to fulfill the obligation to ultimately transfer the 80% equity of SJHC
              to the Non-controlling Shareholders under that Article (which has not been
              disputed by the parties concerned).

              Thirdly, the Respondents presented the following claims, i.e. the
              Non-controlling Shareholders knew, as a matter of fact that, the capital increase
              of SJHC had not been completed upon the signing of the 4.28 Agreement, thus
              they also knew that Shibang Company had not completed the acquisition at that
              time. The Applicants believed that even if the Non-controlling Shareholders
              knew that the overview stated in the Article was not factual, it should not affect
              the application of the principle of contractual estoppel or the principle of
              estoppel by convention, and the evidence in this case showed that the
              Non-controlling Shareholders did not actually know that the capital increase of
              SJHC had not been completed upon the signing of the 4.28 Agreement.

              Fourthly, the Respondents claimed that the completion of the acquisition by
              Shibang Company was a responsibility of the Applicants based on Article 2.3.4
              of the 4.28 Agreement. The Applicants believed that Article 2.3.4 of the 4.28
              Agreement limited the scope of the relevant taxes and fees that should be
              managed and borne by the Non-controlling Shareholders to (a) equity transfer
              procedures related to the payment of onshore equity consideration (i.e. the
              transfer of 20% equity of SJHC by Oasis Kechuang to Luhao Trading) and
              resulting taxes and (b) the entrustment arrangement with Shibang Company
              outside of Mainland China and the equity transfer procedures for the transfer of
              equity by Shibang to Cheergain International and Focus Town, as well as the
              resulting taxes, but excluding the equity transfer procedures or taxes related to
              the acquisition by Shibang Company.

              Fifthly, according to expert opinions, the 80% equity transfer agreement was a
              fundamental application document for the completion of the acquisition by
              Shibang Company, and the Respondents had never provided this document to
              the Applicants. Regarding the Respondents’ claim that Shibang Company failed
              to complete the acquisition because the Controlling Shareholders could not
              submit a “reasonable equity transfer price” to the relevant government agency
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              due to the failure of the Non-controlling Shareholders to provide the audit report
              and/or evaluation report of SJHC that were under the control of the
              Non-controlling Shareholders at that time, the Applicants believed that, based on
              expert opinions, the audit report and/or evaluation report would only affect the
              assessment and adjustment of the appropriateness of the transfer price by the tax
              authorities after the equity transfer procedures were completed (i.e. after review
              and approval by the Commission of Commerce and the completion of the
              industrial and commercial registration), and would not affect the effect of the
              transfer itself. Regarding the tax liability to be borne by the Non-controlling
              Shareholders with respect to the acquisition by Shibang Company put forward
              by the Respondents, the Applicants believed that such taxes should be borne by
              the Controlling Shareholders as intended in the 4.28 Agreement; Otherwise, the
              parties concerned would have specified differently in the agreement.

       205.   Regarding the failure to complete the transfer of 20% equity of SJHC, the
              Respondents claimed that it was because the Applicants only designated Luhao
              Trading as the onshore company under Article 2.3.3 of the 4.28 Agreement in
              March 2011. The Applicants claimed that even if the Applicants had already
              designated an onshore company before Oasis Kechuang’s shareholding ratio in
              SJHC was reduced to 20%, the transfer of 20% equity of SJHC remained
              impossible to complete.

       206.   The Respondents claimed that the transfer of 80% and 20% equities of SJHC
              could be carried out separately. Therefore, it requested the arbitral tribunal to
              consider the responsibilities of the 80% and 20% equity transfer separately. The
              Respondents also pointed out that the controlling rights of SJHC had been fully
              handed over to the Applicants on November 15, 2009.

       207.   The Respondents believed that, based on the opinions of Chinese legal experts,
              the transfer of 80% and 20% equities of SJHC would need to undergo three
              stages of administrative procedures, i.e. review and approval by the competent
              commerce department, industrial and commercial registration of changes,
              taxation of foreign currency transaction and other registration of changes,
              among which Ji Nuo believed that the stage of review and approval by
              competent commercial authority would already reflect the requirements of the
              audit agency on audit report and evaluation report, and the competent commerce
              department would use the audit report or evaluation report as an important
              reference; at the same time, both Ji Nuo and Ye Yongqing agree that “the
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              enterprise’s audit report for the previous year issued by an accounting firm”
              required in the “Review and Approval Procedures for Equity Transfer of
              Foreign-Invested Enterprises” published by Fengxian District Economic
              Committee should be provided by the parties concerned, and the equity transfer
              agreement should usually include the amount of equity purchased and its price
              or calculation method.

       208.   Regarding the transfer of the 20% equity, the Respondents believed that, since
              the Applicants had actually controlled SJHC from November 15, 2009 onwards,
              only the Applicants could enable the auditor/evaluator to perform the latest
              audit/evaluation on the assets of SJHC before the equity transfer, but the
              Applicants did not provide the latest audit/evaluation, thus a reasonable equity
              transfer price could not be obtained and the “Equity Transfer Agreement” could
              not be prepared in the absence of this price. Therefore, the responsibility of the
              incomplete transfer of the 20% equity lies with the Applicants’ failure to
              perform its obligations under Article 2.3.4 of the 4.28 Agreement, which drove
              SJHC to prepare the latest audit report or evaluation report, and to promptly
              designate an onshore company to be the transferee of the 20% equity. In addition,
              the Applicants had yet to push forward this part of the equity transfer after
              SJHC’s capital increase was completed in July 2011 (i.e. after Oasis Kechuang’s
              equity of SJHC was reduced to 20%).

       209.   Regarding the transfer of the 80% equity, the Respondents believed that the key
              to this incomplete transfer was that Greencourt Properties transferred its 80%
              equity in SJHC to Shibang Company and the responsibility of the incomplete
              transfer lies with the Applicants. The Respondents believed that, according to
              the provision of Article 2.3.4 of the 4.28 Agreement, the transfer of the 80%
              equity of SJHC from Greencourt Properties to Shibang Company was “one of
              the steps in the payment of foreign equity consideration”, thus the Respondents
              only had the obligation to assist the transfer and had no management
              responsibility. The Applicants should be responsible for this transfer, including
              the preparation of the “Equity Transfer Agreement”, and the said agreement had
              to also refer to the latest audit report or evaluation report of SJHC to arrive at a
              fair price acceptable to the competent authority. Similarly, the responsibility for
              providing the audit report or evaluation report lies with the Applicants.

       210.   Regarding whether the Applicants knew that the 80% equity of SJHC had not
              been transferred to Shibang upon the signing of the 4.28 Agreement, the
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              Respondents believed that the evidence showed that the Applicants clearly knew
              about it. The sentence “Oasis Investment ... has arranged for Shibang Company
              to acquire 80% of the equity in [SJHC] … held by Oasis Investment” under
              Article 2.3.1 in the 4.28 Agreement was a typographical error. If it had actually
              completed such acquisition at that time, the sentence should appear in the
              foreword of the 4.28 Agreement rather than in Article 2.3.1, and the second
              sentence of the said Article “After the completion of the said equity acquisition...”
              would also be unnecessary. For this, the real intention of the parties concerned
              was that Oasis Investment had already arranged for Shibang Company to
              purchase the 80% equity.

       211.   Regarding the assumption of tax arising from the 80% equity transfer, the
              Respondents claimed that the tax should be borne by the Applicants for the
              following reasons: Firstly, the 80% equity of SJHC was transferred in a devious
              way to Cheergain International and Focus Town, which were established by the
              Applicants to save tax for the Applicants; secondly, the Applicants had no
              evidence to prove that the parties concerned agreed that the Respondents should
              bear the taxes for the transfer of this 80% equity; thirdly, upon concluding the
              agreement, the intention of the parties concerned was that in the event Document
              No. 59 could not be used to help the Applicants save tax, the Respondents would
              be willing to consider separately negotiating on paying a certain proportion of
              the taxes that should be borne by the Applicants at the appointed time; fourthly,
              Article 2.3.4 of the 4.28 Agreement also clearly stipulated that “Apart from this,
              the sharing of the tax and expenses relating to the payment of Equity
              Consideration is to be negotiated by all the Parties in due course”; fifthly, the
              Applicants claimed that, based on the principle of contractual estoppel, the
              relevant taxes should be borne by Greencourt/Shibang since the 80% equity of
              SJHC was transferred by Greencourt Properties to Shibang Company upon the
              signing of the 4.28 Agreement, and this had nothing to do with the Applicants.
              The Respondents believed that the principle of contractual estoppel did not
              apply here; sixthly, if the arbitral tribunal held that the tax liability of this 80%
              equity transfer is not covered under the second sentence of Article 2.3.4 of the
              4.28 Agreement, then it should be covered under the first sentence of the said
              article.

       Completion of Property Exchange



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       212.   The Applicants claimed that, according to stipulations of Articles 3.1 to 3.3 of
              the 4.28 Agreement, SJHC is only obliged to transfer the two A2-type villas that
              it developed at the designated location in Fengxian District, Shanghai to the
              Oasis Investment or a third party designated by the Controlling Shareholders
              after achieving the property handover criteria. The gross floor area on drawings
              of each of the two A2-type villas was about 1,200 square meters, and the parties
              concerned confirmed that the total price was RMB 72 million.

       213.   Firstly, the Applicants claimed that “gross floor area on drawings” meant the
              gross floor area shown on the drawings approved by the Shanghai Fengxian
              District Planning, Land and Resources Administration, and the said drawing was
              enclosed in the Construction Project Planning Permit issued by the Fengxian
              District Planning, Land and Resources Administration on January 7, 2009 (i.e.
              when SJHC was still controlled by the Controlling Shareholders). The said
              permit was handed over by the Controlling Shareholders to the Non-controlling
              Shareholders, and subsequently the construction of the relevant A2-type villas
              was carried out according to the said drawing. In addition, the drawing had not
              been modified. Based on the above reasons, the Applicants claimed that the
              Controlling Shareholders’ reference of the “gross floor area on drawings” as the
              saleable area or super built-up area should not be adopted.

       214.   Secondly, Article 3.3 of the 4.28 Agreement stipulates that the A2-type villas
              and Jiuting Stores should be used for property exchange or equivalent-value
              exchange. The Applicants claimed that the parties concerned agreed to carry out
              property exchange, i.e. the parties concerned agreed that (i) Jiuting Stores and (ii)
              the two A2-type villas were priced at RMB 72 million. Since the two prices were
              equal, the considerations were offset by each other. Therefore, the market prices
              of Jiuting Stores and the two A2-type villas have nothing to do with the property
              exchange.

       215.   The Applicants believed that the Controlling Shareholders’ refusal to accept the
              A2-type villas without justifiable reasons and its refusal to transfer the Jiuting
              Stores caused the Non-controlling Shareholders to suffer serious losses
              (including the rental losses resulting from the Non-controlling Shareholders’
              inability to have control over the 2,000 square meters of the Phase-II Jiuting
              Stores and to lease out this part of the stores).



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       216.      The Respondents believed that the above-ground floor area of the A2-type villas
                 provided by the Applicants was only 600 square meters each, which was
                 completely inconsistent with the requirements of Article 3.2 of the 4.28
                 Agreement, wherein the above-ground floor area of each villa should be
                 approximately 1,200 square meters. The Respondents emphasized that the 4.28
                 Agreement itself was not accompanied by any drawings, and the Controlling
                 Shareholders had not received any drawings showing the total gross floor area of
                 each villa (including gross floor area above and below ground) was
                 approximately 1,200 square meters before signing the 4.28 Agreement.

       217.      The Respondents believed that Articles 3.2 and 3.3 of the 4.28 Agreement
                 should be interpreted as that the value of the A2-type villas and Jiuting Stores
                 should start from RMB 72 million, i.e., the two should be used for exchange at
                 equivalent value and not for property exchange. In order for the valuation of the
                 two A2-type villas to reach up to a total of RMB 72 million and calculated at a
                 unit price of RMB 31,500 per square meter, the floor area of each villa must be
                 approximately 1,200 square meters. The Respondents claimed that the term
                 “gross floor area on drawings” had no specific interpretation under Chinese law
                 and that it must be understood in light of the specific circumstances of the parties
                 concerned in agreement when the 4.28 Agreement was discussed and signed.

       218.      The Respondents believed that, in view of the fact that the A2-type villas
                 provided by the Applicants were inconsistent with the requirements of the 4.28
                 Agreement, unless the Applicants7 compensate for the price difference between
                 the defective A2-type villas and the villas the Respondents should receive
                 (according to the calculation of the Respondents, was RMB 41,820,000), the
                 Respondents were not obliged to accept the A2-type villas [provided by the
                 Applicants]. Prior to this, the Respondents had no obligation to hand over the
                 control rights of the remaining 2,000 square meters of the [Jiuting] property to
                 the Applicants.

       Debt Settlement




7   The Respondents was mistakenly written as “the Respondents” here.



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          219.      Regarding debt settlement, the Applicants and the Respondents have listed the
                    debt settlement items disputed by the parties concerned in their written statement
                    and indicated their respective positions.

VI.       Petitions of the Applicants and Respondents

          Petitions of the Applicants

          220.      Both the First Applicant and the Second Applicant adopt the same arbitration
                    petition. In Paragraph 40 of the said application, the Applicants listed the
                    following petitions:

                    (1)         Order that the First Respondent or the Respondents to cause Greencourt
                                Property Development to sign the “Shanghai Real Estate Sale and
                                Purchase Contract” regarding the Jiuting Stores with the Applicants or
                                their designated third party, and to transfer the ownership of the Jiuting
                                Stores to the Non-controlling Shareholders or their designated third
                                party; (Article 3.1 of the 4.28 Agreement)

                    (2)         Order that the First Respondent or the Respondents to cause its
                                designated third party to sign the A2-type villas’ “Shanghai
                                Commercial Real Estate Presale Contract” with SJHC and complete the
                                relevant presale registration procedures; (Article 3.2 of the 4.28
                                Agreement)

                    (3)         Order that the Respondents to settle and pay the debts of SJHC and the
                                First Respondent to the Applicants based on the current account
                                checklist of the Applicants (i.e. Appendix 1 of the arbitration petition)
                                (within 4 weeks from the date of the arbitration award); (Article 3.6 of
                                the 4.28 Agreement)

                    (4)         Order that the First Respondent to arrange for and cause Shibang
                                Company to acquire the 80% equity of SJHC held by Greencourt
                                Properties, a subsidiary of the First Respondent; (Article 2.3.1 of the
                                4.28 Agreement)8


8     The board of directors of Shibang Company has four directors, and the parties concerned have the right to appoint two
      directors. The Articles of Association of Shibang Company stipulates that a resolution is effective as long as it is signed
      by two directors.



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                  (5)         Order that the First Respondent and the Controlling Shareholders to
                              sign and cause their subsidiary, Greencourt Properties, to co-sign the
                              Equity Purchase Option Agreement and the entrustment agreement
                              concerning Shibang Company; (Articles 2.3.1 and 2.3.2 of the 4.28
                              Agreement)9

                  (6)         Order that the Respondents or the First Respondent to cause Oasis
                              Kechuang to transfer its 20% equity of SJHC to Luhao Trading;10

                  (7)         Order that the Respondents or the First Respondent to cause Greencourt
                              Property Development to repay all mortgage, loans or guarantees
                              (including interests) of the Jiuting Stores and to remove all existing
                              mortgage, guarantees on the Jiuting Stores;

                  (8)         As an alternative to Item (7), order that the Respondents to compensate
                              the Applicants for the total amount required for the repayment of all
                              existing mortgage guarantees on Jiuting Stores by the Applicants;11

                  (9)         Order that the Respondents to pay the balance of the cash consideration
                              for the repurchase of equity, i.e. Hong Kong dollars equivalent to RMB
                              150 million and the final amount shall be adjusted in accordance with
                              Article 2.2.1(4) of the 4.28 Agreement.

        Counter-claims of the Respondents

        221.      The Respondents put forward four counterclaims in Paragraphs 79 - 83 of their
                  Statement of Defence and Counterclaim:

        (A)       Counterclaim on equity consideration




9    According to the provisions of the 4.28 Agreement, after Shibang Company has acquired the 80% equity of SJHC,
     Greencourt Properties should entrust Cheergain International and Focus Town to manage the 80% equity on behalf of
     Shibang Company. Therefore, the entrustment agreement should be signed by Greencourt Properties, Cheergain
     International and Focus Town. After the 3 years of entrustment management, the 80% equity will be transferred from
     Shibang Company to Cheergain International and Focus Town at a consideration of HKD 1.The relevant Equity Purchase
     Option Agreement should be signed by Oasis Investment, Cheergain International and Focus Town.
10   There is no need for the word “third party” because the Applicant has already designated Luhao Trading.
11   When the hearing was held on August 8, 2017, the Applicants stated that because the mortgage was canceled, two items,
     namely Item (g) and Item (h), were no longer needed: fair copy (Day 9), Lines 22 - 27 on Page 26.



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              Due to the behavior of the Applicants, the equity consideration was not paid, and
              the rights and interests of the Respondents were damaged. The Respondents
              requested the arbitral tribunal to rule and/or declare that:

              (1)         The Applicants violated Article 2.3.4 of the 4.28 Agreement;

              (2)        The Applicants should immediately take care of the procedures (and/or
                         cause the handling of the relevant procedures) related to the offshore
                         transfer of equity to Shibang Company and the onshore transfer of
                         equity to Luhao Trading, including but not limited to: (i) to conduct
                         audit/evaluation on SJHC to obtain the reasonable equity transfer price;
                         (ii) to prepare the equity transfer agreement and other relevant
                         transaction documents for the Respondents to read and use as a basis to
                         conduct negotiation with the parties concerned; (iii) to contact the
                         relevant government review and approval authority to obtain the
                         materials to be submitted for review and approval, communicate with
                         the Respondents and prepare materials for submission (seek assistance
                         from the Respondents whenever necessary); (iv) to submit the
                         necessary review and approval materials to the relevant government
                         review and approval authority and to supplement the materials
                         according to its needs (if any); and (v) to pay close attention to the
                         review and approval process, and to notify the Respondents of the
                         updated review and approval status in a timely manner;

              (3)        The Applicants should jointly and/or individually bear any taxes and
                         expenses (including but not limited to the possible Chinese taxes and
                         fees arising from the offshore transfer of equity to Shibang Company)
                         that may arise from the offshore transfer of equity to Shibang Company
                         (i.e. the transfer of SJHC’s 80% equity from Greencourt Properties to
                         Shibang Company). Or, alternatively, the Applicants should negotiate
                         with the Respondents about the assumption of taxes and expenses
                         (including but not limited to the possible Chinese taxes and expenses
                         arising from the offshore transfer of equity to Shibang Company) that
                         may arise from the offshore transfer of equity to Shibang Company.

       (B)    Counterclaim on exchange between Jiuting Stores and A2-type villas




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              The two A2-type villas that the Applicants intended to deliver to the
              Respondents were defective, resulting in damage to the Respondents’ rights and
              interests. The Respondents requested the arbitral tribunal to rule and/or declare:

              (1)        The Applicants violated Article 3.2 of the 4.28 Agreement;

              (2)        The Respondents suffered losses (including but not limited to loss of
                         value) due to the breach of contract by the Applicants and are entitled to
                         compensation. The Applicants should jointly and/or individually pay
                         the losses suffered by the Respondents. The amount of compensation
                         for such losses to be evaluated.

       (C)    Counterclaim on debt settlement for other contractual obligations

              As the Applicants made an unreasonable request and failed to carry out the
              settlement of the relevant debts and claims with the Respondents in good faith,
              the debt settlement cannot be completed. The rights and interests of the
              Respondents are damaged. The Respondents requested the arbitral tribunal to
              rule and/or declare:

              (1)        The Applicants violated Article 3.6 of the 4.28 Agreement;

              (2)        The Applicants should complete the settlement of debts and claims
                         based on (i) the Fourth Draft of the Checklist of the Current Account of
                         Flower-City Property prepared by the Respondents; or (ii) on such basis
                         that the arbitral tribunal should consider otherwise appropriate.

       (D)    Counterclaim on cash consideration

              The Applicants’ actions resulted in the failure to meet certain prerequisites for
              the third payment, causing the rights and interests of the Respondents to be
              damaged. The Respondents requested the arbitral tribunal to rule and/or declare:

              (1)        The Applicants violated Articles 2.3.4, 2.1.3, 2.2.1(4) and/or 3.2 of the
                         4.28 Agreement;

              (2)        Under the premise that all the prerequisites for the third payment are
                         met (including the realization of the abovementioned claims in A(2)
                         and A(3), and the completion of the exchange between Jiuting Stores
                         and the A2-type villas as specified in Article 2.2.1(3)(e) of the 4.28
                         Agreement), the Respondents should pay the adjusted third payment.


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               (3)       As an adjustment to the third payment, the Respondents can deduct or
                         offset (i) any taxes and expenses that may arise from the offshore
                         transfer of equity to Shibang Company (including the possible Chinese
                         taxes and expenses arising from the offshore transfer of equity to
                         Shibang Company) from the third payment; and/or (ii) the amount of
                         compensation for the loss claimed in B(2);

               (4)       Alternatively, the Respondents can deduct or offset (i) any taxes and
                         expenses that may arise from offshore transfer of equity to Shibang
                         Company (including the possible Chinese taxes and expenses arising
                         from the offshore transfer of equity to Shibang Company) from the
                         amount awarded to the Applicants; and/or (ii) the amount of
                         compensation for the loss claimed in B(2);

        222.   The Respondents’ counterclaim is based on the fact that the Applicants were the
               breaching parties. In view of the arbitral tribunal’s analysis and ruling of the
               disputed issues in this case, the arbitral tribunal held that the parties that had
               violated the 4.28 Agreement were the Respondents. Therefore, the Respondents’
               counterclaims were all rejected.

VII.    Analysis and Reasons of Arbitral Tribunal

        223.   The arbitral tribunal made the following analysis after carefully reviewing and
               evaluating the evidence, witness statements, written statements and other
               documents provided by the parties concerned.

               Equity consideration (transfer of SJHC’s equity)

        224.   The 4.28 agreement is a continuation of the matters related to the repurchase of
               equity negotiated between the Controlling Shareholders and the Non-controlling
               Shareholders from 2009 onwards - see Point 1 of the Introduction to the 4.28
               Agreement:

               “Whereas: 1. The Controlling Shareholders and the Non-controlling
               Shareholders had adopted the “Shareholder Resolutions” regarding share
               restructuring on 24 March 2009, and signed the “Meeting Minutes” on 4
               September 2009 and the “Preliminary Share Restructuring Agreement” (the
               “Restructuring Agreement”) on 9 November 2009. The above three documents
               set out the basic principles and transaction framework for Oasis Investment’s
               repurchase of shares held by the Non-controlling Shareholders.”

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       225.   Point 3 of the Introduction to the 4.28 Agreement clarifies the purpose of the
              agreement:

       226.   “Whereas: 3. In order to address the issues relating specifically to the
              repurchase, complete all the transactions specified in the Restructuring
              Agreement as soon as possible, and to reduce the transaction cost as well as
              time cost for all the Parties involved, the Parties agree to sign this agreement to
              specify the repurchase price, the payment schedule, the payment method and
              any other issues involved.”

       227.   In view of this, the arbitral tribunal held that the main purpose of the signing the
              4.28 Agreement by the parties concerned was to complete all the transactions as
              stipulated in the Restructuring Agreement as soon as possible.

       228.   The arbitral tribunal held that if there are omissions or ambiguity in the content
              of the 4.28 Agreement, it may refer to the contents of the above three documents.
              In fact, Article 4.1 of the 4.28 Agreement also expressly states:

              “For matters not addressed in this Agreement, the stipulations of the
              Restructuring Agreement shall prevail. For matters not addressed in the
              Restructuring Agreement and this Agreement, the parties concerned shall enter
              into supplementary agreements through friendly negotiations, and those
              supplementary agreements and this Agreement shall have the same effect.”

       229.   The first article of the 4.28 Agreement specifies the “equity transfer before
              repurchase”. Article 1.1 defines two steps: (1) Mr. Ke Zhengguang was to
              transferr his equity interest in Oasis Investment to Cheergain International and
              Mr. Xu Hongbiao was to transfer his equity interest in Oasis Investment to Focus
              Town; (2) Oasis Investment was to repurchase the equity of Oasis Investment
              from Cheergain International and Focus Town, respectively. Article 1.2 also
              clarifies that the abovementioned taxes resulting from the equity transfer before
              the repurchase and its fees shall be borne by the Non-controlling Shareholders.

       230.   The parties concerned did not dispute that the first equity transfer before the
              repurchase had been completed.

       231.   Article 2 of the 4.28 Agreement specifies the “Oasis Investment’s repurchase
              consideration”, which is also the cash consideration. The parties concerned did
              not dispute that the cash payment portion of Oasis Investment’s repurchase
              consideration was foreign currency equivalent to RMB 250 million (“cash

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                  consideration”):(Article 2.1). The parties concerned also agree that, during the
                  actual payment, the amount of cash consideration should be adjusted as follows:

                  “2.1.1 An amount of approximately RMB 41 million resulting from previous
                  transactions for which the Non-controlling Shareholders shall be held liable
                  shall be deducted from the Cash Consideration;12

                  2.1.2 A conditional payment of a one-off additional compensation in the
                  amount of RMB 30 million (“Additional Compensation”) that Oasis
                  Investment and the Controlling Shareholders are willing to pay shall be added
                  to the Cash Consideration. The condition for this Additional Compensation is
                  that Oasis Investment’s share repurchase and payment of consideration will be
                  completed pursuant to the provisions of the Restructuring Agreement and this
                  supplemental agreement, and there is no major dispute between the Parties.

                  2.1.3 All parties agreed that, following the signing of this Agreement, when the
                  payment of the relevant equity consideration is to be made and when the
                  amount of Cash Consideration is to adjusted, the parties would then sign a
                  supplementary agreement.

                  2.1.4 All parties agreed that the cash portion of the repurchase consideration
                  shall be divided into two equal portions in Hong Kong dollars in Hong Kong
                  and paid in full and on time to the bank accounts of Cheergain International
                  and Focus Town Limited provided by the Non-controlling Shareholders at the
                  time as determined in the article below (Article 2.2).”

        232.      Article 2.2 specifies the payment conditions and payment period of the cash
                  consideration (Article 2.2.1). The parties concerned agreed that the payment
                  time of the cash consideration for the repurchase is as follows:

                  “(1)       Hong Kong dollars equivalent to RMB 80 million (“1st Payment”)...

                  (2)        Hong Kong dollars equivalent to RMB 20 million (“2nd Payment”)
                             should be paid before 30 June 2011.13




12   this amount of more than RMB 41 million was mentioned in the minutes of the meeting on February 3, 2010 (D2/723).
13   The first and second payments had been paid.



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              (3)        The remaining amount equivalent to RMB 150 million in Hong Kong
                         dollars (“3rd payment “), being the final payment subject to those
                         adjustments agreed to or confirmed by all Parties under provisions of
                         Article (4) below) is to be paid by 31 December 2012 once the
                         following prerequisites are met:

                         (a)     SJHC’s equity transfer being approved by the government and
                                 the registration of the transfer being completed;

                         (b)     Oasis Investment completing the registration for the change of
                                 shareholders that is necessary for the repurchase of the
                                 Non-controlling Shareholders’ equity;

                         (c)     Non-controlling Shareholders and Controlling Shareholders
                                 reaching an agreement on the payment arrangement in respect
                                 of the Cash Consideration and various adjustments to the
                                 amount specified in the aforementioned Article 2.1；

                         (d)     Non-controlling Shareholders confirm that the payment of
                                 equity consideration specified in Article 2.3.5 below being
                                 completed and there being no dispute among all parties;

                         (e)     Both of the Shanghai Real Estate Sale and Purchase Contract
                                 mentioned in Article 3.1 and the Shanghai Real Estate Presale
                                 Contract mentioned in Article 3.2 being signed and the
                                 registration of transfer [of ownership] or the registration of
                                 presale with the Real Estate Registration Authority being
                                 completed.

              (4)        Adjustments to the Amount of Cash Consideration. All Parties agree
                         that, before the payment of the 3rd Payment, under provisions of the
                         following Articles, all parties shall calculate and determine the
                         adjustments to the amount of Cash Consideration, and take the adjusted
                         amount as the final amount for purposes of the 3rd Payment:

                         (a)     Under the provisions of the Restructuring Agreement and this
                                 agreement, Oasis Investment and Controlling Shareholders
                                 shall use 100% of SJHC’s equity as part of share repurchase
                                 consideration (“Equity Consideration”). If under any laws and
                                 regulations, such equity transfer must indicate a price of


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                                        equity and that this price must actually be paid, the actual
                                        amount (net amount after deduction of tax and fees) paid by
                                        the Non-Controlling Shareholders to Oasis Investment and
                                        the Controlling Shareholders for the equity transfer shall be
                                        added to the Cash Consideration;

                                        1.   The arbitral tribunal held that Item (a) above should be
                                             interpreted as if the Respondents are required by the
                                             laws and regulations to provide a fixed price for the
                                             transfer of SJHC’s 100% equity, and the said
                                             requirement causes the Applicants to have to pay the
                                             actual amount for the above transfer of equity to the
                                             Respondents, the actual amount of such payment (after
                                             deducting the tax incurred) should be added into the cash
                                             consideration to be paid by the Respondents to the
                                             Applicants. The implication is that, if the parties
                                             concerned must set a price for the transfer of SJHC’s
                                             equity, the Applicants should bear the tax.

                            (b)         The sharing of the amount stipulated in Articles 2.1.1 and
                                        2.1.2 above shall be reflected in the final amount of the 3rd
                                        Payment;

                                        2.   The arbitral tribunal held that, according to Article 2.1.1,
                                             the Applicants should bear the total amount of RMB
                                             41,224,613.21 14 , and according to Article 2.1.2, the
                                             Applicants should receive RMB 30 million from the
                                             Respondents. After the two are offset, the Applicants
                                             will only need to pay approximately RMB
                                             11,224,613.21, and the amount will be deducted from
                                             the third payment (i.e. RMB 150 million).

                            (c)         Under provisions of other Articles of this agreement, all tax
                                        and expenses that shall be paid by the parties shall be
                                        reflected in the final amount of the 3rd Payment.




14   LYP-l [Dl/253]: LYP-2 [D3/1199].



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                                3.    The arbitral tribunal held that this means that the third
                                      payment must be adjusted with reference to the tax
                                      burden that the parties concerned are required to bear
                                      under the other terms in the 4.28 Agreement. These
                                      other terms include, for example, Article 2.3.4. This
                                      article specifies that the taxes and expenses arising from
                                      the payment of onshore equity consideration, and the
                                      taxes and fees arising from offshore entrustment
                                      arrangement with Shibang Company and the transfer of
                                      equity to Cheergain International and Focus Town, shall
                                      be borne by the Non-controlling Shareholders. Apart
                                      from this, the sharing of the taxes and expenses related
                                      to the payment of equity consideration shall be
                                      separately negotiated by all parties at the appointed time.
                                      Matters that arise due to the equity transfer procedures
                                      related to the payment of onshore and offshore equity
                                      considerations, i.e. application, registration, government
                                      procedures etc., shall be handled by the Non-controlling
                                      Shareholders, and the Controlling Shareholders and
                                      Oasis Investment shall provide the necessary assistance.
                                      Based on the above reasons, the arbitral tribunal held
                                      that Article 2.3.4 does not apply to this case.

       233.   A comprehensive analysis of the above indicated that the final amount of the
              third payment should be adjusted based on Article 2.2.1(4), with RMB 150
              million as the base amount.

       234.   As for the payment deadline of the third payment, Article 2.2.1(3) specifies it to
              be December 31, 2012, but prerequisites (a) to (e) must also be met.

       235.   There is no dispute between the two parties that the prerequisite (b) has been
              met.

       236.   As for prerequisite (a), the parties have been alleging that the other party is the
              reason for the unmet prerequisites. Therefore, the arbitral tribunal must make a
              ruling on this issue.

       237.   As for prerequisite (c), both parties have reached an agreement on the payment
              arrangements for the cash consideration specified in Article 2.1, but no


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              agreement has been reached on various adjustments. Therefore, the arbitral
              tribunal must make a ruling on this issue.

       238.   As for prerequisite (d), the payment of equity consideration by both parties as
              specified in Article 2.3.5 has been completed, and the parties concerned have no
              disputes over this and have not reached an agreement. Therefore, the arbitral
              tribunal must make a ruling on this issue.

       239.   As for prerequisite (e), both parties have different opinions on the reasons why
              the contracts mentioned in Articles 3.1 and 3.2 have not been signed. Therefore,
              the arbitral tribunal must make a ruling on this issue.

       240.   As for prerequisite (a) (i.e. the government review and approval and registration
              procedures for the transfer of SJHC’s equity had been completed), the arbitral
              tribunal first analyzed the content of Article 2.3 of the 4.28 Agreement. Article
              2.3 specifies the payment method of equity consideration:




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              “According to the Restructuring Agreement, the equity portion of Oasis
              Investment’s repurchase consideration is calculated as 100% equity of [SJHC]
              (“Equity Consideration”).”

       241.   The payment method of the equity consideration includes both offshore and
              onshore components. The offshore component is specified in Articles 2.3.1 and
              2.3.2, and the onshore component is specified in Article 2.3.3.

       242.   Article 2.3.1 specifies that:

              “Oasis Investment has newly incorporated Shibang Company Ltd (“Shibang
              Company”) in Hong Kong and has arranged for Shibang Company to acquire
              80% of the equity interest in SJHC held by Greencourt Properties Limited, a
              subsidiary of Oasis Investment in Hong Kong. After the completion of the said
              equity acquisition, Oasis Investment shall sign the “Equity Purchase Option
              Agreement” with Cheergain International and Focus Town Limited and agree
              that upon the expiration of the entrustment period mentioned in Article 2.3.2
              below, 100% of the equity of Shibang Company shall be transferred to
              Cheergain International and Focus Town Limited at a consideration of HKD 1.”
              (underlines added later)

       243.   Article 2.3.2 specifies that:

              “All Parties Agree That: After Oasis Investment’s signing of the Equity
              Purchase Option Agreement for the equity transfer of Shibang Company to
              Cheergain International and Focus Town Limited, Greencourt Properties is to
              sign the relevant Entrustment Agreement with Cheergain International and
              Focus Town Limited. This agreement shall stipulate that: (1) Cheergain
              International Group Limited and Focus Town Limited are entrusted by
              Greencourt Properties to manage Shibang Company and to exercise the
              shareholders’ rights on its behalf for three years (the “entrustment period”);
              (2) during the entrustment period, the Non-controlling Shareholders are
              responsible for all the debts and claims, risks and liabilities of Shibang
              Company and SJHC. If for any reason the Controlling Shareholders, Oasis
              Investment or Greencourt Properties are required to bear the debts and claims,
              risks and liabilities of Shibang Company or SJHC during the entrustment term,
              the Non-controlling Shareholders are required to fully compensate the
              Controlling Shareholders, Oasis Investment and Greencourt Properties.”


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       244.   Article 2.3.3 specifies that:

              “The remaining 20% of the equity of SJHC currently held by Oasis Kechuang
              Shengtai Limited, a subsidiary of Oasis Investment, is to be transferred to a
              domestic company in China appointed by the Non-controlling Shareholders
              (“Onshore Payment of Equity Consideration”). If under the laws of the
              People’s Republic of China, an actual payment of consideration is required to be
              made for such equity transfer, the provisions of the abovementioned Article
              2.2.1(4)(a) shall apply.”

       245.   Regarding Articles 2.3.1 to 2.3.3, the arbitral tribunal held that the transfer of
              SJHC included the following three steps that must be performed:

              (1)         First, Shibang Company, established by Oasis Investment, should
                         acquire 80% equity interest of SJHC held by Greencourt Properties
                         (hereinafter referred to as the “first step of the 80% equity transfer”).
                         Article 2.3.1 expressly states that Oasis Investment has established
                         Shibang Company in Hong Kong and has arranged for Shibang
                         Company to acquire 80% of equity of SJHC held by Greencourt
                         Properties, a subsidiary invested by Oasis Investment in Hong Kong. In
                         other words, the first step in the 80% equity transfer ought to have been
                         completed when the 4.28 Agreement was signed. However, in fact, this
                         first step has not been completed yet.

              (2)        Second, Oasis Investment should transfer the equity of Shibang
                         Company to Cheergain International and Focus Town owned by the
                         First Applicant and Second Applicant respectively (referred to as “step
                         2 of the 80% equity transfer”).

              (3)        After the first step of the 80% equity transfer and before the second step
                         of the 80% equity transfer, the 4.28 Agreement also stipulates that the
                         Non-controlling Shareholders and the Controlling Shareholders must
                         sign two agreements: One would be the “Equity Purchase Option
                         Agreement” signed by Oasis Investment and Cheergain International
                         and Focus Town; the other would be the relevant entrustment
                         agreement signed by Greencourt Properties and Cheergain
                         International and Focus Town.




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              (4)        The other 20% equity of SJHC would be transferred from Oasis
                         Kechuang to an onshore company in China designated by the
                         Non-controlling Shareholders (referred to as the “20% equity
                         transfer”). According to Article 2.3.3, the Chinese onshore company
                         designated by the Non-controlling Shareholders is Luhao Trading.
                         According to Article 2.3.3, the Non-controlling Shareholders
                         designated Luhao Trading as the transferee of the 20% equity of SJHC
                         in the letter issued on March 15, 2011 [D3/901-903].

       246.   It can be clearly seen from the content of Article 2.3.4 that this Article deals with
              the procedures and tax liability of the second step of the 80% equity transfer (i.e.
              the offshore entrustment arrangement with Shibang Company and the transfer of
              equity to Cheergain International and Focus Town) and the 20% equity transfer
              (i.e. payment of onshore equity consideration). This article does not cover the
              first step of the 80% equity transfer (i.e. Shibang Company’s acquisition of 80%
              equity of SJHC held by Greencourt Properties). This is because, according to
              Article 2.3.1, the Respondents clearly confirmed that Oasis Investment had
              completed the first step of the 80% equity transfer upon the signing of the 4.28
              Agreement. In other words, the responsibility of Oasis Investment in fulfilling
              the first step of the 80% equity transfer is not within the scope of Article 2.3.4.

       247.   There was still a small episode about the transfer of SJHC’s equity. Oasis
              Investment held 100% equity of SJHC through its two subsidiaries: Greencourt
              Properties held 69% and Oasis Kechuang held 31%. In order to comply with the
              4.28 Agreement, SJHC must increase its capital, so that Greencourt Properties
              could increase its shareholding ratio to 80%, and Oasis Kechuang could lower its
              shareholding ratio to 20%.

       248.   On November 12, 2009, Greencourt Properties and Oasis Kechuang signed an
              agreement [D2/628-629] to reach an agreement on the increase of registered
              capital in SJHC. Under this Agreement, both parties agreed to adjust the
              shareholding ratio of the two parties to 80%:20% through the giving up of the
              limited subscription rights of newly added registered capital by Oasis Kechuang
              and the unilateral capital increase by Greencourt Properties. On the same day,
              SJHC also passed the board resolution [D2/631-632], reflecting the above equity
              adjustment.



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       249.   The Shanghai Municipal Commission of Commerce consented and approved the
              capital increase of SJHC on December 21, 2009 [D2/705-706]. However, the
              Shanghai Branch of the State Administration of Foreign Exchange issued a
              decision to not grant an administrative license [D2/728] on March 23, 2010.

       250.   The application for capital increase was finally approved on July 27, 2011
              [D3/980], and both parties had no dispute over this.

       251.   Both parties had different interpretations and positions on whether the two audit
              reports in the evidence were the documents that had to be submitted during the
              first phase of review and approval for the transfer of SJHC’s equity. The first
              audit report [D2/729] was issued by Shanghai Xuri Certified Public Accountant
              Firm on April 14, 2010. Another audit report [D2/766-781] was issued by Crowe
              Howarth on April 28, 2010.

       252.   The First Applicant’s claim was: The evidence shows that the Applicants
              provided the two audit reports to the Respondents to use for capital increase or
              settlement [D1/255,257 Point 5 - Li Shuping’s witness statement attached to
              LYP-3 “Issues Regarding the Settlement of Claims and Debts between SJHC
              and Oasis Investment and Its Subsidiaries”].

       253.   The Respondents claimed that the two audit reports supported the Respondents’
              view, i.e.: The applicant must hire an appraiser to evaluate the value of 100%
              equity of SJHC and provide the 2016 annual audit report of SJHC to the
              Respondents for review.

       254.   In summary, the arbitral tribunal held that the First Applicant’s explanation of
              the two audit reports was more persuasive, and the dates coincided with the final
              approval date of the capital increase application (i.e. July 27, 2011). Therefore,
              the arbitral tribunal endorsed the claim of the First Applicant.

       Expert opinion of various expert witnesses (Ma Beiyi, Ye Yongqing, Ji Nuo) -
       review and approval procedures must be carried out for the transfer of SJHC’s
       equity

       255.   With regard to the issue of equity consideration, the parties concerned have
              summoned Chinese legal expert witnesses to make expert reports on the review
              and approval procedures, documents required for the review and approval, and
              taxes. The First Applicant’s expert witness was Ma Beiyi; the Second


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              Applicant’s expert witness was Ye Yongqing; the Respondents’ expert witness
              was Ji Nuo.

       256.   The joint opinion of the three expert witnesses on the issue of equity transfer
              (“Joint Opinion”) is in C/438. In Paragraph 6 of the Joint Opinion, three experts
              pointed out that SJHC was a sino-foreign equity joint venture established under
              the “Law of the People’s Republic of China on Sino-Foreign Equity Joint
              Ventures”, and it had two shareholders: Greencourt Properties (Hong Kong
              company, 80% equity) and Oasis Kechuang (Chinese company, 20% equity).

       257.   Three experts pointed out in Paragraph 8 of the Joint Opinion that the
              Regulations for the Implementation of “Regulations for the Implementation of
              the Law on Sino-Foreign Equity Joint Ventures” was applicable to the transfer
              of SJHC’s equity. Article 20, Paragraph 1 of the Regulations specifies that:
              “When a joint venture party transfers all or part of its equity to a third party, it
              must be approved by the other joint venture party and shall be submitted to the
              review and approval agency for approval, and shall complete the procedures for
              change registration with the registration management agency.”Article 3 of the
              “Several Provisions on Changes in Equity Interest of Investors in
              Foreign-invested Enterprises” also specifies that: “Changes in the equity interest
              of corporate investors shall comply with relevant Chinese laws and regulations,
              and shall be approved by the review and approval authority and registered by the
              registration authority in accordance with this provision. Changes in equity are
              invalid without the approval of the review and approval authority.”Therefore, as
              a sino-foreign equity joint venture, the two equity transfers of SJHC should be
              approved by the review and approval authority, and the corresponding
              procedures for change registration shall be subsequently carried out with the
              registration authority.

       258.   The three experts pointed out in Paragraph 9 of the “Joint Opinion” that the
              transfer of SJHC’s equity would require three stages of administrative
              procedures: (1) After collecting and preparing the documents required by law,
              the joint venture should submit the application documents to the review and
              approval authority for the approval of the equity transfer. Taking into account
              the total investment amount of SJHC and its type of industry, the specific review
              and approval of its equity transfer should be the responsibility of the local
              competent commerce department of Shanghai; (2) after obtaining the approval,
              the joint venture should apply for the change with the registration management
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              agency, i.e. complete the change registration with the local industry and
              commerce department of Shanghai; and (3) the joint venture should, in
              accordance with the requirements of relevant laws and regulations, further
              complete the registration of changes in terms of taxation, foreign exchange and
              other aspects.

       259.   Regarding the first phase (SJHC should submit application documents to the
              commerce department for review and approval), the three experts listed in
              Paragraph 10 of the “Joint Opinion” that SJHC, as an applicant for the review
              and approval of equity transfer, must submit the application documents to the
              review and approval authority, and there was no need to repeat it here. In
              addition, Paragraph 12 of the “Joint Opinion” mentioned the division of labor
              between the parties concerned in the preparation of the documents.

       260.   Regarding the second phase (SJHC should apply for change registration with the
              administration for industry and commerce), the three experts set out the
              documents to be submitted in Paragraph 15 of the “Joint Opinion”, and there was
              also no need to repeat them here. The three experts agreed that the change
              documents received by the administration for industry and commerce were
              similar to the application documents submitted to the commerce department in
              the first phase. The experts also added their opinions in Paragraphs 36-38 of the
              Joint Opinion.

       261.   Regarding the third phase (SJHC further completes the registration of changes in
              terms of taxation, foreign exchange and other aspects), the three experts
              unanimously agreed that after the completion of the industrial and commercial
              registration of changes, the joint venture could specifically complete the
              procedures for registration of changes in terms of tax, foreign exchange and
              other aspects of the enterprise based on the review and approval, as well as on
              the change registration results of the equity transfer.

       262.   In Paragraphs 19 and 20 of the “Joint Opinion”, the three experts unanimously
              agreed that, regarding the review and approval of the transfer of SJHC’s equity
              (i.e. the first phase mentioned above), the materials (listed below) that the
              transferor and the transferee had prepared were not enough to complete the
              review and approval and registration of SJHC:

              (1)         The shareholders of Greencourt Properties had issued the
                         “Shareholder Resolution of Greencourt Properties Limited, Hong Kong”

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                         dated November 21, 2011, agreeing to transfer its 80% equity in SJHC
                         to Shibang Company and to give up its pre-emptive rights when Oasis
                         Kechuang transferred its 20% equity in SJHC to Luhao Trading.

              (2)         The shareholders of Oasis Kechuang had issued the “Shareholder
                         Resolution of Oasis Kechuang Ecological Technology Co., Ltd., Hong
                         Kong” dated November 21, 2011, agreeing to transfer its 20% equity in
                         SJHC to Luhao Trading and to give up its pre-emptive rights when
                         Greencourt Properties transferred its 80% equity in SJHC to Shibang
                         Company

              (3)         The shareholders of Greencourt Properties had issued the
                         “Shareholder Resolution of Greencourt Properties Limited, Hong Kong”
                         agreeing to transfer its 50% equity to Cheergain International at the
                         price of USD 1 (sic) and transfer its another 50% equity to Focus Town
                         at the price of USD 1 (sic).

       263.   The three experts did not reach a consensus on the following two issues:

              (1)        Should the right to review and approve the transfer of SJHC’s equity
                         belong to the municipal commission of commerce or Fengxian District
                         Economic Committee?

              (2)        Is the audit report or evaluation report of SJHC required for the review
                         and approval of the equity transfer?

       264.   Regarding Question (1), Ma Beiyi believed that SJHC was a foreign-invested
              real estate development and management company, and its approval authority
              for equity transfer should be the municipal commission of commerce. However,
              Ji Nuo believed that the authority to review and approve the transfer of SJHC’s
              equity belonged to the local competent commerce department of Shanghai
              Municipality prior to the implementation date (April 10, 2015) of the “Catalogue
              for the Guidance of Foreign Investment Industries” (Amended in 2015), but the
              authority to review and approve belonged to the local competent commerce
              department at the district level (Fengxian) after April 10, 2015. Ye Yongqing
              believed that since this equity transfer transaction should have occurred before
              April 10, 2015, i.e. before the review and approval agency was changed, the
              competent commerce department of Fengxian District is not the competent
              authority for this equity transfer.



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       265.   Regarding Question (2), Ma Beiyi believed that there was no information to
              indicate that the evaluation report was related to the review and approval
              application and the completion of change registration and other administrative
              procedures for the equity transfer. Therefore, the evaluation report was not
              considered an application document that the joint venture had to prepare. As for
              the audit report, it was because the website of the Fengxian District Economic
              Committee showed that the previous year’s audit report of the joint venture
              issued by an accounting firm has to be provided to apply for review and approval
              for equity transfer with the committee. But Ma Beiyi believed that this
              requirement would not constitute an obstacle for the joint venture to apply for
              the review and approval of the equity transfer, nor did it belong to the application
              documents that had to be prepared by the joint venture. Ye Yongqing believed
              that, regarding the issues on whether the audit report of SJHC had to be provided
              and who should be responsible to prepare it, on one hand, the “Provisions on
              Changes in Equity Interest of Investors in Foreign-invested Enterprises” did not
              expressly require that an audit report had to be submitted, and taking into
              account the total investment amount of SJHC and the type of industry that it was
              involved in, the local competent commerce department of Shanghai should be
              responsible for the specific review and approval of its equity transfer.
              Furthermore, the list of documents in the service guide published by the
              commerce department of Shanghai Municipality did not include the audit report.
              On the other hand, since this equity transfer transaction should have occurred on
              April 10, 2015, i.e. before the review and approval agency was changed, the
              competent commerce department of Fengxian District was not the competent
              authority for this equity transfer, thus its document requirements would not
              constitute a substantial obstacle to the approval of the commerce commission. In
              addition, Ye Yongqing believed that, in practice, the commerce department of
              Shanghai Municipality did not have the practice of requesting for audit report or
              evaluation report, and enterprises could just submit their financial statements for
              the previous year or the most recent month. Therefore, even if an audit report
              had to be submitted in accordance with the requirements of the competent
              commerce department of Fengxian District, in practice, enterprises could often
              submit their financial statements for the previous year or the most recent month
              instead. In addition, regarding whether it was necessary to perform evaluation on
              SJHC, Ye Yongqing believed that the evaluation had no effect on the obtaining
              of commerce review and approval for this equity transfer, as well as the
              registration of changes in industry and commerce, and taxation. It may be
              necessary only if the taxation authority questioned the price of this equity

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              transfer when Greencourt Properties filed tax returns. In particular, the transfer
              of SJHC’s equity had already been realized after the completion of review and
              approval by the commerce commission and the changes in industrial and
              commercial, and SJHC’s equity would be under Shibang Company’s name after
              the completion of changes in industrial and commercial. Although, the
              subsequent tax procedures had to be completed by Shibang Company for the
              acquisition, it would not affect the realization of the equity transfer. Although a
              valuation may be one of the methods that the subsequent taxation authority may
              use to determine the equity transfer price, the taxation authority may also use the
              agreed price in the equity transfer agreement, the net asset price of SJHC, the
              long-term equity investment amount in the account book of Greencourt
              Properties, or the registered capital amount of SJHC to determine the equity
              transfer price, and the above prices or amounts were information that could be
              obtained. Hence, Ye Yongqing believed that the valuation of SJHC was not a
              necessary process for the completion of equity transfer under the premise that it
              was not expressly prescribed by the Chinese tax laws and regulations and local
              regulations.

       266.   Ji Nuo believed that the competent commerce department of Fengxian District
              was the review and approval agency of the transfer of SJHC’s equity in this case.
              The list of documents published on the Internet clearly required an audit report,
              and SJHC should meet this requirement. (The question of when this equity
              transfer transaction should take place, and which party should bear the
              consequences of the failure to complete the transaction on time should be
              decided by the arbitral tribunal, thus Ji Nuo did not discuss this in the expert
              opinion.) In practice, the review and approval authority would often require the
              joint venture to provide audit report or evaluation report as an important
              reference for reviewing the reasonableness of the equity transfer price (for
              example, when the agreed price deviates significantly from the circumstances
              reflected in the audit report and other materials, it may constitute as an obstacle
              to approval). Ji Nuo believed that, according to the above analysis, in this case,
              the audit report should be prepared for the review and approval process, and the
              preparation of the audit report should be based on financial information provided
              by the joint venture (i.e. SJHC). Therefore, SJHC should usually be responsible
              for the preparation. If SJHC failed to provide an audit report, it would constitute
              an obstacle to obtaining approval. As for the review and approval authority’s
              specific requirements for the form and content of the audit report, whether it
              could be replaced by other similar documents (such as evaluation report,

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              unaudited financial statement, etc.) and other issues, it would depend on the
              discretion of the review and approval authority according to case-specific
              circumstances.

       267.   The arbitral tribunal held that: (1) The question of which competent authority
              would have the right to review and approve the transfer of SJHC’s equity should
              be considered from the time point at which the review and approval application
              was submitted. All three experts agreed that, after April 10, 2015, the right of
              approval would belong to the competent commerce department of Fengxian
              District, Shanghai. However, the 4.28 Agreement was signed at the end of April
              2010, and the consensus of the parties concerned in Article 2.2.1(3) was that the
              balance should be paid before December 31, 2012 (on condition that the
              prerequisites were satisfied). In other words, the parties concerned believed that
              the prerequisites of the 4.28 Agreement should be fully satisfied within two
              years and eight months. Therefore, the arbitral tribunal held that the key time
              point was before April 10, 2015, and the review and approval authority at that
              time was the municipal commission of commerce instead of the competent
              commerce department of Fengxian District.

       268.   As for the audit report or evaluation report, the arbitral tribunal accepted the
              opinions of the Applicants’ expert witnesses Ma Beiyi and Ye Yongqing, i.e.:
              The audit report or evaluation report would not be needed for the application for
              the review and approval of equity transfer. Moreover, this issue was in fact
              irrelevant to determine which party was breaching the contract. As the first step
              of the equity transfer, that is, Shibang Company’s acquisition of 80% of SJHC
              held by Greencourt Properties was not yet completed, the documents required
              for approval was not available.

       269.   At the time of the commencement of the arbitration proceeding (i.e. February 22,
              2013), both parties had not yet begun the first phase (SJHC submitted the
              application documents to the commerce department for review and approval).
              What were the reasons? The Controlling Shareholders and the Non-controlling
              Shareholders blamed each other, alleging that each other did not bear its share of
              responsibility. However, it is an indisputable fact that the Controlling
              Shareholders had not fulfilled the contractual obligations under Article 2.3.1 of
              the 4.28 Agreement and arranged for Shibang Company to acquire 80% of
              equity in SJHC held by Greencourt Properties. This resulted in the failure to
              complete the transfer of SJHC’s equity, let alone the review and approval and
              registration procedures for the transfer of SJHC’s equity, which was one of the
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              prerequisites (i.e. the prerequisites set out in Article 2.2.1(3)(a) of the 4.28
              Agreement).

       270.   Evidence shows that the Controlling Shareholders’ lawyer (attorney Tao
              Xudong of JunHe LLP) sent an e-mail to the lawyer of the Non-controlling
              Shareholders (attorney Jeremy Wong of King & Wood Mallesons) on May 13,
              2010, mentioning some legal issues regarding the transfer of SJHC’s equity and
              requested discussion by telephone conference [D2/826]. On the same day, King
              & Wood Mallesons responded to the email to JunHe, mentioning that it had
              received the Chinese manuscripts of Equity Purchase Option Agreement and
              Entrustment Agreement from Xu Hongbiao’s office, and it had some ideas and
              agreed to discuss the matter via telephone [D2/825]. On May 24, 2010, King &
              Wood Mallesons sent an email to JunHe with its amendment recommendations
              regarding to the “Equity Purchase Option Agreement” and Entrustment
              Agreement, and also reminded the Controlling Shareholders to ensure that the
              20% equity in SJHC held by Oasis Kechuang should also be transferred at the
              same time according to Article 2.3.3 of the 4.28 Agreement. The e-mail also
              mentioned that King & Wood Mallesons was drafting the “Equity Pledge
              Agreement of Shibang Company” and “Shareholder Voting Rights Proxy
              Agreement of Shibang Company” to cooperate with the performance of the
              above two agreements; after the agreements were drafted, they would be sent to
              JunHe for review [D2/824]. On June 1, 2010, JunHe sent an email to King &
              Wood Mallesons to ask when it could provide a copy of the equity pledge
              agreement and voting rights proxy agreement, and said that it hoped to see all the
              documents and send feedback to King & Wood Mallesons [D2/ 830]. On June 9,
              2010, King & Wood Mallesons sent an email to JunHe with the drafts of
              “Shareholder Voting Rights Proxy Agreement” and “Equity Pledge Agreement”
              for JunHe to review and give feedback [D2/829]. On August 31, 2010, King &
              Wood Mallesons sent an email to JunHe, pointing out that they did not receive
              JunHe’s feedback after sending the drafts of “Shareholder Voting Rights Proxy
              Agreement” and “Equity Pledge Agreement” on June 9, 2010, and requesting for
              a response [D2/829]. However, according to Paragraph 23 [B/14] of Xu
              Hongbiao’s witness statement, a violation of the 4.28 Agreement was that Oasis
              Investment and its Controlling Shareholders had not yet returned their signed
              “Equity Purchase Option Agreement” and/or “Escrow Agreement”, or provide a
              response regarding its content to the Non-controlling Shareholders or put
              forward any suggestions.


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       271.   In summary, the arbitral tribunal held that the Controlling Shareholders were in
              breach.

       272.   All three expert witnesses agreed that, in the first phase, SJHC, as an applicant
              for review and approval of equity transfer, must submit several documents to the
              review and approval authority (see Paragraphs 10 - 13 of the “Joint Opinion”).
              One of the key documents is the 80% and 20% equity transfer agreement of
              SJHC. Regarding Paragraphs 29 - 35 of the “Joint Opinion”, three expert
              witnesses expressed their different opinions. Among them, Ji Nuo believed that
              the equity transfer agreement was one of the indispensable application
              documents, just like other documents required for review and approval and
              registration. Any equity transfer must be based on the premise that the relevant
              parties had reached an agreement. However, as compared to general equity
              transfer, this case was special. If the actual control rights, various licenses and
              official seals of SJHC had been transferred to the Applicants by the Respondents
              before the equity transfer occurred, the review and approval and registration of
              the equity transfer would not only depend on the direct parties to the transfer, i.e.
              Greencourt Properties, Oasis Kechuang, Shibang Company and Luhao
              Company, but also depend on the Applicants’ approval of such equity transfer,
              especially the key terms such as the price, because the Applicants had actual
              control over SJHC, and it was not that they had no control over Shibang
              Company. If the actual controllers of SJHC did not recognize the terms and
              conditions of the equity transfer (especially the price terms), even if the parties
              concerned had signed the equity transfer agreement, SJHC would still be able to
              refuse or passively push forward the review and approval and registration
              applications. On the other hand, the review and approval authority may consider
              the reasonableness of the equity transfer consideration and usually require the
              company to provide an audit report. Therefore, for the sake of caution, the
              conclusion of the equity transfer agreement required that the joint venture (i.e.
              SJHC) cooperate with the provision of audit report and other materials to the
              parties concerned as references to determine the specific content of the
              agreement.

       273.   After considering the opinions of the Respondents’ expert, the arbitral tribunal
              believes that the opinions of the Respondents’ expert are highly speculative. As
              HKD 150 million (the third installment) can only be paid to the Applicants after
              the various prerequisites are met, and one of the prerequisites would be the
              completion of procedures for government approval and registration of the

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              transfer of SJHC’s equity, obviously, the Applicants would have no reason to
              refuse or to passively go about the approval and registration application.
              Therefore, the arbitral tribunal does not endorse the opinions of the Respondents’
              expert. The arbitral tribunal believes that the Respondents can fully prepare the
              equity transfer agreement, in the name of Greencourt Properties and Oasis
              Kechuang, for Shibang Company’s and Luhao Trading’s perusal. However, the
              Respondents did not kick start this process at all; rather, they delayed the process
              using various excuses.

       274.   In summary, the arbitral tribunal believes that the Respondents have clearly
              violated the contractual obligations in Articles 2.3.1, 2.3.2 and 2.3.3 of the 4.28
              Agreement.

       275.   With regard to the audit report, all parties unanimously agreed in the hearing
              (especially on August 8, 2017 when the closing oral statement was given) that, at
              this current stage (and not when the arbitration started), there is a need to submit
              the latest audit report of SJHC to the approval unit, and this report is one of the
              documents to be reviewed during the approval process; Transcription (Day 9),
              Lines 28-29 on Page 32.

       Expert opinions of the expert witnesses of all parties - opinions on taxation issues
       [C/451-454]

       276.   The three experts reached the following consensus on the tax obligations that
              might have arisen from the equity transfer under the law of China:

              (1)        According to the tax law of China, as the equity transferor in the
                         acquisition of Shibang Company, Greencourt Properties would be
                         subjected to corporate income tax, but the law of China does not
                         prohibit the parties involved in the transaction to agree on the actual
                         bearing of the financial tax burden;

              (2)        There are two ways to handle the tax basis for corporate income tax
                         payable by Greencourt Properties;

              (3)        In practice, the tax authorities are stricter with the review of various
                         conditions in Document No. 59 (that is, the “Notice on Several Issues
                         Concerning Corporate Income Tax Treatment of Enterprise
                         Restructurings promulgated by the Ministry of Finance and the State


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                         Administration of Taxation”), and there is a relatively low possibility of
                         special tax treatment in this case;

              (4)        The equity transferor and transferee have the obligation to pay stamp
                         duty.

       277.   With regard to the agreement in Article 2.3.4 of the 4.28 Agreement: “Apart
              from this, the sharing of the tax and expenses relating to the payment of Equity
              Consideration is to be negotiated by all the Parties in due course”, the arbitral
              tribunal believes that, the meaning of this sentence should be interpreted by the
              arbitral tribunal based on the law of Hong Kong (the substantive law of the
              contract), and the opinions of experts have no bearing on this issue.

       278.   The first half of the first sentence of Article 2.3.4 in the 4.28 Agreement
              stipulates that “The Non-controlling Shareholders shall be responsible for all the
              tax and expenses incurred due to the Onshore Payment of Equity
              Consideration …”. This refers to the taxes and expenses arising from Oasis
              Kechuang’s transfer of 20% equity of SJHC to Luhao Trading. Both parties had
              no dispute concerning this matter.

       279.   The second half of the first sentence of Article 2.3.4 in 4.28 Agreement is: “The
              Non-controlling Shareholders shall be responsible for … the tax and expenses
              incurred offshore due to the entrustment arrangement made by Shibang
              Company and the equity transfer of Shibang Company to Cheergain
              International Group Limited and Focus Town Limited”. The meaning of this
              sentence is also clear.

       280.   The second sentence of Article 2.3.4 in 4.28 Agreement is: “Apart from this, the
              sharing of the tax and expenses relating to the payment of Equity Consideration
              is to be negotiated by all the Parties in due course.”[Underlines added after]

       281.   Both parties had a dispute on the taxes related to Greencourt Properties’ transfer
              of 80% equity interest of SJHC to Shibang Company. The Respondents’
              position was that, the first sentence only covered Oasis Kechuang’s transfer of
              20% equity of SJHC to Luhao Trading and Shibang Company’s entrustment
              agreement with Cheergain International and Focus Town, but it did not cover the
              agreement of Greencourt Properties’ transfer of 80% equity of SJHC to Shibang
              Company. The Applicant’s position was that: As it was clearly expressed in
              Article 2.3.1 of 4.28 Agreement that Oasis Investment had established Shibang

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              Company in Hong Kong and had arranged for Shibang Company to acquire 80%
              equity of SJHC held by Greencourt Properties, which was the Hong Kong
              subsidiary of Oasis Investment, this transaction should not be considered a
              situation that was “apart from these items” or a situation to be separately
              discussed by both parties. The arbitral tribunal agrees with the Applicant’s
              standpoint.

       282.   With regard to item (2) of the consensus of the three expert witnesses (that is,
              “the tax basis for corporate income tax payable by Greencourt Properties”), the
              arbitral tribunal believes that, the application and interpretation of “Document
              No. 59” are of no direct relationship to the interpretation of the 4.28 Agreement.
              As mentioned in the 29th paragraph of the witness statement of Yu Naifen
              Stephany, all parties did not discuss about who should bear the taxes arising
              from the transaction under “Document No. 59” in the event Shibang Company’s
              offshore equity transfer would be entitled to “special tax treatment” based on
              “Document No. 59”[B/46]. The first Applicant’s evidence denied that the
              Applicants had discussed with the Controlling Shareholder about the “special
              treatment” of “Document No. 59” when signing the 4.28 Agreement (see Xu
              [B/100, §§12-15]. The position of both the Applicants and the Respondents was
              that, all parties did not discuss about who should bear the taxes arising from the
              transaction under “Document No. 59” when signing the 4.28 Agreement.
              Therefore, the arbitral tribunal believes that no ruling is required for this issue.
              Moreover, the arbitral tribunal has interpretated Article 2.3.1 of 4.28 Agreement,
              hence it would not be necessary to discuss if “Document No. 59” is applicable.

       Property exchange (exchange of Jiuting Stores and A2-type villas)

       283.   The clause related to property exchange is Article 3 “Other agreements relating
              to Oasis Investment’s repurchase and repurchase consideration” of 4.28
              Agreement:

              “3.1 Within 30 days of the signing of this agreement, Oasis Investment and the
              Controlling Shareholders shall procure a subsidiary, namely, Shanghai
              Greencourt Real Estate Development Limited to sign the “Shanghai Real
              Estate Sale and Purchase Contract” with the Non-controlling Shareholders or
              their nominated third party, and undertake to transfer approximate 8000 m2 of
              commercial space which shall meet the appropriate delivery standards
              (specifically, the property includes approximately 6000 m2 of commercial space

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              on the third level along the streetside of Phase 1 of Greencourt Sun City
              Commercial Building, and all the commercial space of approximately 2000 m2
              of the west side of the Central Plaza of Phase 2 of Greencourt Sun City) at the
              Jiuting Greencourt Sun City Real Estate Project in Songjiang District, to the
              Non-controlling Shareholders or their nominated third party. For the avoidance
              of doubt, (1) when the Shanghai Real Estate Sale and Purchase Contract is
              signed, Oasis Investment and the Controlling Shareholders shall transfer the
              right to use such commercial space to the Non-controlling Shareholders or
              their nominated third party, and the Non-controlling Shareholders or their
              nominated third party are to receive rental income and other earnings after the
              transfer; and (2) by 30 June 2011, Oasis Investment and the Controlling
              Shareholders shall transfer the ownership of such commercial space to the
              Non-controlling Shareholders or their nominated third party.

              3.2 At the time of signing the aforementioned “Shanghai Real Estate Sale and
              Purchase Contract”, SJHC shall sign the “Villa Order Contract” with Oasis
              Investment and the Controlling Shareholders, to transfer the SJHC-developed
              two A2-type villas (building area of approximately 1200 m2 each as set out on a
              building plan, which building plan Oasis Investment and the Controlling
              Shareholders have received and have been notified of the delivery standards,
              and both confirmed the actual price as stated below) located on the Central
              Island, Peninsula Villa Project, Fengpu Industrial Area, Fengxian District,
              Shanghai City, to Oasis Investment or their nominated third party once the
              villas meet the delivery standards. For the avoidance of doubt, the
              Non-controlling Shareholders shall procure SJHC to sign the “Shanghai Real
              Estate Presale Contract” with Oasis Investment or the third party nominated
              by the Controlling Shareholders on 30 June 2011 and to complete the presale
              registration of such villas..

              3.3 All Parties Confirm: the properties involved in the aforementioned
              “Shanghai Real Estate Sale and Purchase Contract” and the “Villa Order
              Contract” (or the Shanghai Real Estate Presale Contract) are all priced at
              RMB 72 million. Because the prices of the properties involved are equal, for the
              purposes of this agreement, the considerations under the contracts are to be set
              off against each other (whether or not such offset is plausible from an
              accounting perspective, and that the Parties agree that no actual payment is to
              be made).”

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       284.   According to Article 3.2 of the 4.28 Agreement, the A2-type villas have
              “building area of approximately 1200 m2 each as set out on a building plan,
              which building plan Oasis Investment and the Controlling Shareholders have
              received and have been notified of the delivery standards, and both confirmed
              the actual price as stated below”. “The actual price as stated below” refers to
              RMB 72 million in Article 3.3.

       285.   The Applicants pointed out that, the aforementioned construction drawings were
              prepared and approved by the government when SJHC was still controlled by
              the Controlling Shareholder, and they were implemented and completed with the
              knowledge and authorization of the Controlling Shareholder. Moreover, the
              drawings were always kept and controlled by the Controlling Shareholder, and
              they were only handed over to the Non-controlling Shareholders together with
              other documents on November 18, 2009. According to the “Acceptance
              Certificate for Completed Construction Project and Planning” for A2-type villas
              issued by the Planning, Land and Resources Administration of Fengxian District,
              Shanghai City on January 15, 2012, the gross floor area stated on the certificate
              was bigger than the gross floor area in the original drawings.

       286.   Moreover, even if the gross floor area on the construction drawings was
              inconsistent with the drawings specified in the 4.28 Agreement, the Respondents
              were clearly aware of that and had not raised any objection within the relevant
              period of time. With regard to the clause on construction drawings in Article 3.2
              and its effect, the Second Applicant cited the principle of “contractual estoppel”
              and the principle of “estoppel by convention”.

       287.   The Respondents denied that the Controlling Shareholder knew about
              circumstances regarding the villa project and gave the drawings to the
              Non-controlling Shareholders. The Respondents pointed out that the
              Non-controlling Shareholders only submitted a copy of the villa design drawing
              to the Controlling Shareholder on June 2, 2010, and the Respondents informed
              verbally that the drawing was inconsistent with the agreement and returned it.
              Although the Applicants had adequate time thereafter, it did not alter the
              drawing. The Respondents only received the “Shanghai Commercial Housing
              Presale Contract” for the first time through the Applicants’ lawyer letter on
              February 4, 2013, and knew about the area of the villas to be provided by the
              Applicants.


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       288.   The Respondents claimed that the villas provided by the Applicants had the
              following defects and did not meet the requirements of “customized” villas as
              agreed by them: (1) the saleable area of the villas was much lower than 1,200
              square meters; (2) even if basement area, which should not be included in the
              saleable area, were to be added to the total area, the villas still did not meet the
              required area stated in the 4.28 Agreement. As mentioned above, the
              requirements of “customized” villa stated by the Respondents are clearly
              inconsistent with the clauses of the agreement.

       Related written correspondence

       289.   The written correspondence between the Non-controlling Shareholders and the
              Controlling Shareholder reveals that the Controlling Shareholder sent a letter to
              the Non-controlling Shareholders on March 25, 2011 requesting the
              Non-controlling Shareholders to provide the “design drawings of the involved
              villas, which should show the villas’ location, area and construction quality
              meeting the provisions in the 4.28 Agreement and the usual requirements of a
              villa”.

       290.   The Non-controlling Shareholders replied in a letter on April 25, 2011 and
              pointed out that:

              “You have repeatedly delayed signing the Villa Order Contract for the two
              A2-type Villas located on Central Island with us on many occasions by claiming
              that we have not provided the drawings of the Central Island A2-type Villas to
              you; but in reality, Article 3.2 of the 4.28 Agreement has specified that the gross
              floor area on the drawings of the Central Island A2-type Villas is about 1,200
              square meters each, and Oasis Investment and the Controlling Shareholder have
              received the drawings and are aware of the delivery criteria, and they have
              confirmed the actual price as stated”. Moreover, our side had re-submitted the
              relevant drawings of Central Island A2-type Villas to you on June 2, 2010 in
              response to your request after the 4.28 Agreement took effect. You received and
              signed for the receipt of the drawings. Therefore, there is no factual basis for
              your refusal to sign the Villa Order Contract by stating that we have not
              furnished the drawings of the Central Island A2-type Villas.”

       291.   In the reply letter of the Controlling Shareholder dated April 28, 2011, they
              claimed that “we have not received the drawings of Central Island A2-type
              Villas with the ‘gross floor area of about 1,200 square meters each’ as mentioned

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              by you, have they been sent wrongly? For the sake of caution, please resend
              them again for our verification”. The Controlling Shareholders’ position then
              was not that there was a problem with the drawings provided by the
              Non-controlling Shareholders, but that they did not receive the drawings at all.

       292.   The Non-controlling Shareholders replied in a letter on May 3, 2011 and
              reiterated that “we have responded to your request on June 2, 2010 and sent the
              relevant drawings of Central Island A2-type Villas to you, and we have your
              signed acknowledgment to prove this. If you have any doubt about the
              construction drawings, you can check with us”.

       293.   The Controlling Shareholder only gave a reply concerning the construction
              drawings on July 15, 2011. In this reply, they finally acknowledged that the
              Non-controlling Shareholders had given the drawings to them, but they then said
              that the drawings were not in compliance with the requirements: “you have
              indeed given the drawings to us, but the drawings showed a huge discrepancy
              between the gross floor area of the Villas and that agreed in the 4.28 Agreement,
              and we had also raised this issue to you when we received the drawings”.

       Jiuting Stores

       294.   The Applicants said that the Respondents had so far been unable or refused to
              appoint and cause Greencourt Property Development and the Non-controlling
              Shareholders or a third party appointed by them to sign the “Shanghai Real
              Estate Sale and Purchase Contract” for the transfer of the Jiuting Stores, and this
              caused them to suffer losses. However, the Respondents said that the
              Applicants failed to meet the requirements for the Villas, hence the Respondents
              did not have the obligation to sign the “Shanghai Commercial Housing Presale
              Contract” for the Jiuting Stores and transfer the ownership of the stores to the
              Applicants or the party appointed by them. This shows that the main issue of
              dispute between the parties is whether the Villas provided by the Applicants met
              the requirements in the 4.28 Agreement.

       295.   The Respondents also pointed out that, regardless, the Controlling Shareholder
              had allowed the Applicants to use and rent the store through an authorization
              letter, and the Applicants were actually entitled to the revenue from the stores.
              Both parties had a dispute over the scope and deadline of the authorization. The
              Second Applicant pointed out that, the Respondents were still occupying 2,000


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                square meters of commercial property at the west wing of the Phase 2 Central
                Square up to the current day.

        296.    The arbitral tribunal believes that, under Article 3 of the 4.28 Agreement, the
                agreement of the parties is for the property exchange, and the value of RMB 72
                million of the involved property is only an estimation (this is the meaning of the
                word “pricing”); it is not an actual price calculated accurately by multiplying the
                price per square meter with the area of 1,200 square meters. In addition, the
                phrase “gross floor area on drawings of the about 1,200 square meters each”,
                which was used to describe the A2-type villas, should also be understood in this
                contect. The Respondents also claimed that the pricing of RMB 72 million for
                the A2-type villas was calculated based on (1) the saleable gross floor area of
                two villas, which was 2,400 square meters in total, and (2) an average price of no
                less than RMB 31,500 per square meter of gross floor area. The Respondents
                claimed that this was the basis for Article 3.3 of the 4.28 Agreement between the
                parties, but the arbitral tribunal believes that this claim is obviously inconsistent
                with the stipulations that have been expressly stated in the 4.28 Agreement.
                Therefore, the arbitral tribunal has accepted the claims of the Applicants and
                ruled that the Respondents violated the obligations under Article 3.1.

        The Second Applicant’s claim for losses of Jiuting Stores

        297.    The Second Applicant listed the following calculation of losses in appendix 1 of
                its written concluding statement (the original appendix 1 of the written
                concluding statement was replaced by the new appendix 1 on August 8, 2017,
                and the parties did not have any objection to that):
Calculation of rent losses of Jiuting Stores (revised version dated August 8, 2017)
      Total rent losses (includes the office area and        10,346,211
      store) (RMB)
      Office area with balcony (over 2,000 square meters)


      Total area (square meters)                                2,140.30
      Area occupied by SJHC (square meters)                       424.35
      Leasable area (square meters)                             1,715.95
                                                                           Witness statement of Ke
                                                                           Yeying: B/7/94, Paragraph
                                                                           46: The supermarket is the
                                                                           third party mentioned in the

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                                                                           paragraph.
     Area of supermarket (square meters)                         860.85    Supplementary      witness
                                                                           statement of Gu Yong:
                                                                           B/12/129, Paragraph 4.3
     Area occupied by the Controlling Shareholder (square        855.10    Witness statement of Ke
     meters)                                                               Yeying: B/7/94, Paragraph
                                                                           45
     Market rent price (RMB/square meters/day)                      2.50   Gu Yong’s statement: Day 5
                                                                           [44(22-27)]




     Date on which the Non-controlling Shareholders            5/28/2010   Revision of the Further
     should be entitled to the right of use and rent of the                Reply to the Applicants’
     stores under Article 3.1(1) of the 4.28 Agreement                     Reply and Defence to
                                                                           Counterclaim:   A/6/97,
     Date of lease to supermarket:                              6/1/2016   Paragraph 10.4
     Reference date for calculation of losses                   8/8/2017
     Number of days whereby the supermarket area                   2,196
     was vacant due to the Controlling Shareholder’s
     refusal to provide authorization
     Losses arising from vacant supermarket area (RMB)         4,726,067


     Number of days whereby the Controlling Shareholder            2,629
     occupied the store in breach of Article 3.1(1)
     Losses arising from occupation by the Controlling         5,620,145
     Shareholder (RMB)


     Total rent losses of the office area with balcony        10,346,211
     (RMB)


       298.    Claims of the Second Applicant: Although the A2-type villas were completed in
               2011, the Controlling Shareholder unduly refused to accept the A2-type villas
               and refused to execute the transfer of the Jiuting Stores, and these caused the
               Non-controlling Shareholders to suffer heavy losses. The reasons are as follows:

               (1)       According to Article 3.1 of the 4.28 Agreement, the commercial
                         property of the Jiuting Stores project is about 8,000 square meters, and
                         this specifically included (i) about 6,000 square meters of the level
                         three commercial space of the Greencourt Sun City Phase 1 along the


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                         streetside; and (ii) about 2,000 square meters of all commercial space at
                         the west wing of the Phase 2 Central Plaza.

              (2)        The rent of the 2,000 square meters [of commercial property] in Phase 2
                         was most probably higher than RMB 2.5 per day per square meter. Mr.
                         Gu Yong, who is the Controlling Shareholder’s witness, also agreed
                         with this point.

              (3)        As the Controlling Shareholder prevented the transfer of Jiuting Stores
                         and did not grant the controlling rights of the 2,000 square meters [of
                         commercial property] to the Non-controlling Shareholders, the
                         Non-controlling Shareholders could not rent out this portion [of
                         commercial property].

              (4)        Although the Non-controlling Shareholders rented a portion of the
                         office with balcony in the 2,000 square meters [of commercial property]
                         to a third party who is related to Mdm. Ke in July 2016, that was a
                         special arrangement (based on the third party’s trust in Mdm. Ke).

              (5)        The Controlling Shareholder granted the controlling rights of the 6,000
                         square meters [of commercial property] in Phase 1 to the
                         Non-controlling Shareholders through the authorization letter, but the
                         controlling rights of the 2,000 square meters [of commercial property]
                         in Phase 2 have not been granted so far. Mr. Gu Yong, who was the
                         Controlling Shareholder’s witness, also agreed with this point.

       299.   According to Article 3.1 of the 4.28 Agreement: “Within 30 days of the signing
              of this agreement, Oasis Investment and the Controlling Shareholders shall
              procure a subsidiary, namely, Shanghai Greencourt Real Estate Development
              Limited to sign the “Shanghai Real Estate Sale and Purchase Contract” with the
              Non-controlling Shareholders or their nominated third party, and undertake to
              transfer approximate 8000 m2 of commercial space which shall meet the
              appropriate delivery standards (specifically, the property includes
              approximately 6000 m2 of commercial space on the third level along the
              streetside of Phase 1 of Greencourt Sun City Commercial Building, and all the
              commercial space of approximately 2000 m2 of the west side of the Central
              Plaza of Phase 2 of Greencourt Sun City) at the Jiuting Greencourt Sun City
              Real Estate Project in Songjiang District, to the Non-controlling Shareholders or
              their nominated third party. For the avoidance of doubt, (1) when the Shanghai

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              Real Estate Sale and Purchase Contract is signed, Oasis Investment and the
              Controlling Shareholders shall transfer the right to use such commercial space
              to the Non-controlling Shareholders or their nominated third party, and the
              Non-controlling Shareholders or their nominated third party are to receive rental
              income and other earnings after the transfer; and (2) by 30 June 2011, Oasis
              Investment and the Controlling Shareholders shall transfer the ownership of
              such commercial space to the Non-controlling Shareholders or their nominated
              third party.”

       300.   Article 3.1(1) shows that the Respondents were required to fulfill their
              obligations (that is, to deliver the right of use) within 30 days after signing the
              4.28 Agreement, and this was to be no later than May 28, 2010. Article 3.1(2)
              shows that the Respondents were required to fulfill their obligations (that is,
              transfer the ownership) before June 30, 2011.

       301.   Article 3.1 is linked to Articles 3.2 and 3.3, which means that the commercial
              property of Jiuting Green Court Sun City Real Estate Project at Songjiang
              District, which covers an area of about 8,000 square meters, had the same
              pricing as the 2 Central Island A2-type villas of the Peninsula Villa Project at
              Fengpu Industrial Area, Fengxian District (that is, RMB 72 million). This point
              has been stated in Paragraph 296 above.

       302.   In Appendix 1 submitted by the Second Applicant, the claims are divided into
              two portions: (1) areas occupied by the Controlling Shareholder; (2) number of
              days that the supermarket area was being controlled due to the Controlling
              Shareholder’s refusal to grant authorization. If August 8, 2017 is used as the
              reference date for calculation of losses, the total losses would be RMB
              10,346,211 (RMB 5,620,145 plus RMB 4,726,067).

       303.   As the arbitral tribunal has ruled, in Paragraph 271, the Respondents breached of
              its obligations under Article 3.1 of the 4.28 Agreement, the arbitral tribunal
              therefore accepts the Second Applicant’s claims and rules that the Controlling
              Shareholder should compensate the Applicants for their losses of RMB
              10,346,211 (using August 8, 2017 as the reference date for calculation of losses).

       Settlement of pre-existing debts and claims between SJHC and Oasis Investment
       and their subsidiaries




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       304.   According to Article 3.6 of the 4.28 Agreement: “Related party transactions:
              With effect from the signing of this agreement, the related party transactions
              between SJHC and Oasis Investment and their subsidiaries shall be terminated;
              all pre-existing debts and claims shall be settled within one month. This excludes
              situations that are otherwise stipulated in this agreement..”

       305.   All parties had made effort to negotiate and agreed to reduce the original scope
              of dispute to the few items listed in Bundle E, Tab 5.

       306.   Article 3.6 of the 4.28 Agreement is an independent clause, and it is not related
              to the above clauses on pricing of the equity transfer. The arbitral tribunal
              believes that the parties cannot hold any other party responsible for the failure to
              settle the pre-existing debts and claims within the time frame prescribed by the
              agreement, and the main reason is that the parties have different views
              concerning the issues involved. Therefore, with regard to this issue, the arbitral
              tribunal role is to pass a ruling on this issue, and it will not hold any party liable
              for the breach of agreement.

       307.   Under Article 3.6, all the pre-existing debts and claims between SJHC and Oasis
              Investment and their subsidiaries are to be settled. This is unrelated to the equity
              transfer or the repurchase. Therefore, the outcome of the settlement shall not
              contribute to the adjustment of the 3rd Payment. See Article 2.2.1(4) of 4.28
              Agreement.

       308.   All parties have reached an agreement on most of the disputed settlement items,
              and the remaining disputed items that require ruling by the arbitral tribunal can
              be found in the list in E/5/15-19, which are: Items 1, 1a, 7, 8, 22, 23 and 28.

       1, 1a. Balance of reserves during transfer in November 2009

       309.   According to Paragraph 4a of the witness statement of Mr. Qi Chiyang, who was
              the Applicants’ factual witness: “Both parties have no objection to the debit
              balance of RMB 41,224,613.21 stated in prepayments - prepaid reserves - item
              1.” According to Paragraph 11 of the witness statement of Madam Li Shuping,
              who was the Respondents’ factual witness: “Based on the financial information
              submitted to SJHC, my calculations show that, as of November 2009, the
              balance of the category 1 current account is RMB 41,224,613.21, which is the
              balance of current account between SJHC and [Oasis] Kechuang as of
              November 2009.” Therefore, the parties had no dispute on this value.



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       310.   However, both parties had a dispute on whether the RMB 15 million paid by the
              Controlling Shareholder to Shengyuan on January 29, 2016 (item 1a) could
              offset the current account debit amount.

       311.   The evidence shows that Oasis Investment, Greencourt Kechuang and SJHC
              signed a copy of the “Current Account Prepayment Agreement” on January 29,
              2016 [D3/1207]. On the same day, SJHC, Shanghai Shengyuan Construction
              Engineering Co., Ltd. and Greencourt Kechuang also signed a copy of the
              “Tripartite Agreement” [D3/1213]. These two agreements were signed for the
              “Agreement Letter” signed by SJHC and Shengyuan on January 10, 2015 (for
              the arrears of two project amounts of the “Lekang Park Phase 2”, which added
              up to RMB 26,198,239). As SJHC did not have sufficient funds to pay the
              project amount, it requested for Greencourt Kechuang, which is a subsidiary of
              Oasis Investment, to pay the amount on its behalf. [Oasis] Kechuang paid RMB
              15 million directly to Shengyuan as the first installment of the project amount on
              behalf of SJHC.

       312.   The Second Applicant and the Respondents agreed that, the amount of RMB 15
              million paid by the Respondents to Shengyuan on January 29, 2016 should be
              considered as prepayment of the current account of RMB 15 million by the First
              Respondent on behalf of SJHC based on the agreement in the “Current Account
              Prepayment Agreement”. However, the First Applicant did not agree with the
              aforementioned position.

       313.   The arbitral tribunal also noticed that the First Applicant was not involved in the
              negotiation and the signing of the two agreements. [Paragraph 12 of Xu
              Hongbiao’s non-religious affidavit]

       314.   The arbitral tribunal believes that the meaning of Article 3.6 in the 4.28
              Agreement is very clear, which is: all the pre-existing debts and claims between
              SJHC and Oasis Investment and their subsidiaries must be settled within one
              month of the 4.28 Agreement (May 28, 2010). Although [Oasis] Kechuang paid
              RMB 15 million directly to Shengyuan on behalf of SJHC, the said amount was
              paid only in 2016, which was far beyond the deadline stated in the 4.28
              Agreement. Therefore, the arbitral tribunal believes that this amount of RMB 15
              million does not fall under the scope of pre-existing debts and claims stated in
              Article 3.6 of the 4.28 Agreement. The issue of whether this amount of RMB 15
              million can offset the current account debit of RMB 41,224,613.21 is not related


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              to the terms of the 4.28 Agreement. This issue is not within the jurisdiction of the
              arbitral tribunal, hence it shall not be ruled upon by the arbitral tribunal.

       7, 8. Renumerations and expenses of Ke Zhengguang and Xu Hongbiao from
       January - November 2009

       315.   The First Applicant and the Second Applicant received renumerations, expenses
              and social security contribution amounting to RMB 3,127,591.77 from Oasis
              Investment in 2009. This amount was confirmed by both parties (see Paragraph
              9a of Qi Chiyang’s witness statement; Paragraph 12.3.1 of Li Shuping’s witness
              statement). The dispute was whether this sum should be borne by Oasis
              Investment or SJHC. The Respondents’ position was that, the Non-controllilng
              Shareholders agreed in the “First Draft Checklist of the Non-controlling
              Shareholders” that SJHC should bear this amount, but in the subsequent
              reconciliation process and the correspondences between the parties, [the
              Non-controlling Shareholders] did not agree for SJHC to bear the amount. The
              Controlling Shareholder asserted that, based on the principles in respect of the
              share repurchase, as the Non-controlling Shareholders only rendered services to
              SJHC since the start of 2009, the amount should be borne solely by SJHC. The
              Applicants claimed that their renumerations, expenses and social security
              contributions received from Oasis Investment in 2009 were based on the
              employment relationship between Oasis Investment and Ke [Zhengguang] and
              Xu [Hongbiao], and that relationship was not related to the pre-existing debts
              and claims between SJHC and Oasis Investment and their subsidiaries, hence
              these amounts were not under the scope of settlement of pre-existing debts and
              claims as stated in Article 3.6 of the 4.28 Agreement, and they were not related
              to the 4.28 Agreement.

       316.   In Paragraph 12.2 of Li Shuping’s witness statement, she introduced the
              background in which expenses were adjusted or apportioned due to staff
              remuneration and social security contribution. She explained: This adjustment or
              apportionment was based mainly on these factors: (a) some employees of the
              Chinese subsidiaries of Oasis Investment had a labor relationship with a certain
              subsidiary, and they received remuneration and social security contribution from
              that subsidiary while primarily serving another subsidiary. Therefore, when
              SJHC executed a staff takeover in November 2009, the Controlling Shareholder
              should have arranged for Oasis Investment’s subsidiaries (excluding SJHC) to
              return to SJHC the remuneration and social security contribution paid to
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              employees who did not serve SJHC in 2009; (b) as the Non-controlling
              Shareholders refused to pay the remuneration for all employees of SJHC in the
              second half of November 2009 after signing the restructuring agreement, and the
              subsidiaries of Oasis Investment then had to pay them in cash first, therefore, the
              corresponding expenses for employees who served SJHC should be returned to
              the subsidiaries of Oasis Investment by SJHC.

       317.   The arbitral tribunal believes that, from November 2009 onward, Ke
              [Zhengguang] and Xu [Hongbiao] only served SJHC (and not Oasis Investment
              or subsidiaries other than SJHC), and based on this logic, even though their
              remunerations and expenses were still paid by Oasis Investment, this amount
              should also be borne by SJHC. Moreover, the First Applicant and the Second
              Applicant had agreed in the “First Draft Checklist of the Non-controlling
              Shareholders” that SJHC should bear this amount, and they only disagreed with
              this later.

       318.   In summary, the arbitral tribunal endorses the Respondents’ claim and ordered
              SJHC to bear and return RMB 3,127,591.77 to the First Respondent.

       22. Outstanding amount of Lekang Greening Engineering (RMB 1,136,313.42)

       319.   According to the statement of Li Shuping, who was the Respondents’ factual
              witness, SJHC should pay RMB 1,136,313.42 as the greening project amount for
              Xiaotang Lekang Park Phase 2 to Oasis Investment’ subsidiary Yijing Company
              (this amount was the project amount of RMB 1,136,313.42 paid by Yijing for
              the greening of Xiaotang Lekang Park Phase 2, and this amount was not claimed
              from SJHC) [Paragraph 28.4 of Li Shuping’s witness statement [B/72]]. Li
              Shuping also explained that this sum was only added to the “Checklist of Current
              Account as of December 31, 2015” file prepared by her in January 2016 after she
              knew about the communication between the Controlling Shareholder and the
              Non-controlling Shareholders about the project amount of Shengyuan Company.
              Qi Chiyang, who was the Applicants’ factual witness, said that there was no
              record of this sum of project amount during delivery, and the engineering
              department said that Yijing Company and SJHC had settled the project amount
              for Lekang Park Phase 2. The construction price was RMB 3.5 million in the
              construction contract that was concluded at that time, and the amount actually
              paid for the project was RMB 4.22 million. An excess of RMB 1.22 million was
              already paid, and this was 35% more than the construction price under the

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              contract [see Paragraph 9d of Qi Chiyang’s witness statement [B/37]]. In
              Paragraph 15 of her supplementary witness statement, Li Shuping replied:
              “After the repurchase reference date, a project cost of RMB 1,136,313.42 for
              SJHC’s Lekang Park Phase 2 was eventually formulated in Yijing Company’s
              books. At that time, I thought that all the parties had carried out the split based on
              their assets during the repurchase reference date, hence this cost became Yijing
              Company’s deficit and I added it into the account checklist.” [B/125]

       320.   The arbitral tribunal believes that, there is insufficient evidence to show that
              Yijing Company took over the payment of the project amount in response to
              SJHC’s request, and the Respondents’ witness also said that this amount was
              only formed after the repurchase reference date. Therefore, the arbitral tribunal
              has no evidence-based reason to ask SJHC to pay this sum to Yijing Company.
              In summary, the arbitral tribunal does not endorse the Respondents’ request.

       23. Apportioned investment cost for the 10 kV switch station (RMB 47(sic)
       million)

       321.   In Paragraph 28.3 of her witness statement, Li Shuping said that she only added
              this sum (SJHC should share the investment cost of RMB 4.7 million for the
              switch station of Shanghai Four Seasons Ecological Technology Co., Ltd.) to the
              “Checklist of Current Account as of December 31, 2015” prepared by her in
              January 2016 after she knew about the communication between the Controlling
              Shareholder and the Non-controlling Shareholders about the project amount of
              Shengyuan Company [B/72]. Qi Chiyang said that this apportioned amount
              came from an agreement on apportionment of investment cost of the relevant
              distribution development station concluded with Four Seasons Ecological
              Technology Co., Ltd. when SJHC built the villas and developed neighboring
              projects in 2012. The payment responsibilities or disputes on the payments were
              controlled by the 2012 apportionment agreement, and they were neither related
              to the 4.28 Agreement nor were they under the scope of settlement of the debts
              and claims stated in Article 3.6 of the 4.28 Agreement because Article 3.6 of the
              4.28 Agreement says that the debts and claims between SJHC and Oasis
              Investment and their subsidiaries were to be settled on the signing date of the
              Agreement (April 28, 2010) [B/37]. In Paragraph 16 of her supplementary
              witness statement, Li Shuping said that, after reviewing the 4.28 Agreement and
              the 11.9 Agreement comprehensively, [she considered that] no restriction was
              imposed on the time whereby the debts and claims were to be settled. Based on
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              common sense, the debts and claims that further arised during the equity
              repurchase process should also be settled accordingly [B/125].

       322.   The arbitral tribunal believes that, Article 3.6 has a deadline for the settlement of
              the debts and claims, that is, within one month after the signing of the 4.28
              Agreement (May 28, 2010). Therefore, this shared amount of RMB 4.7 million
              is not covered by Article 3.6 of the 4.28 Agreement. This matter is not to be
              decided upon by the arbitral tribunal.

       28. For the interest arising from Oasis Investment and its subsidiaries’ retaining
       of the funds of SJHC, the Controlling Shareholder has yet paid the interest [back
       to SJHC/Non-controlling Shareholders]

       323.   The Applicants’ position was that interest clearing should form part of Article
              3.6. Prior to the split [by way of share restructuring], the Group had centralized
              use of funds to bear the costs of the corresponding units and projects financial
              costs as needed, so as to maximize the Group’s overall profits. Such a model is
              understandable. However, following SJHC’s split on December 31, 2008 as the
              reference date, Oasis Investment’s controlling party continued to adopt this
              model on SJHC and freely transferred funds [out of SJHC] without
              consideration. By adopting a management accounting model of apportioning
              financial costs, this went against the spirit of the relevant agreement: See
              Paragraph 7e of Qi Chiyang’s witness statement. Li Shuping explained about the
              group funds allocation in Paragraph 10 of his witness statement.

       324.   The arbitral tribunal believes that, regardless of whether SJHC was split on
              December 31, 2008 as the reference date, the 4.28 Agreement was only signed in
              about one and a half years later, hence there existed a “custodian” relationship
              between the Group and SJHC during this period of time. Therefore, it is
              practically very challenging to identify clearly which party was utilizing or
              occupying which party’s funds. In summary, the arbitral tribunal does not
              support the Applicants’ request.

VIII. Ruling and Order of the Arbitral Tribunal

              Based on the aforementioned reasons, the arbitral tribunal ordered as follows:

       1.     (Within 4 weeks from the day this ruling is passed) The Respondents are to to
              cause Greencourt Real Estate to sign a “Shanghai Real Estate Sale and Purchase
              Contract” for the Jiuting Stores with the Applicants or a third party appointed by

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              the Applicants, and transfer the ownership of the Jiuting Stores to the
              Non-controlling Shareholders or a third party appointed by them. (Article 3.1 of
              4.28 Agreement)

       2.     (Within 4 weeks from the day this ruling is passed) The Respondents are to
              cause the First Respondent to appoint a third party to sign the “Shanghai
              Commercial Housing Presale Contract” for A2-type villas with SJHC, and
              complete the relevant presale registration procedures. (Article 3.2 of 4.28
              Agreement)

       3.     All parties are ordered to settle and pay the debts of SJHC and the First
              Respondent within 4 weeks from the day the ruling is passed based on
              Paragraphs 304 to 324 of this ruling. (Article 3.6 of 4.28 Agreement)

       4.     The Applicants are ordered to submit an audit report to the relevant approval
              authorities within 2 months from the day the ruling is passed.

       5.     (Within 2 months from the day this ruling is passed) The First Respondent is
              ordered to arrange for and cause Shibang Company to acquire the 80% equity
              interest of SJHC held by the First Respondent’s subsidiary Greencourt
              Properties. (Article 2.3.1 of 4.28 Agreement)

       6.     (Within 2 weeks from the day this ruling is passed) The First Respondent and
              Non-controlling Shareholders are to sign, and the First Respondent is to cause
              their subsidiary, Greencourt Properties, to jointly sign, the Equity Purchase
              Option Agreement and Entrustment Agreement concerning Shibang Company.
              (Articles 2.3.1 and 2.3.2 of 4.28 Agreement)

       7.     (Within 2 months from the day this ruling is passed) The First Respondent is
              ordered to cause Oasis Kechuang to transfer its 20% equity in SJHC to Luhao
              Trading.

       8.     (Within 4 weeks after the execution of the orders numbered 1-6 above) The
              Respondents are to pay the final amount after making the adjustments set out in
              Article 2.2.1(4) of the 4.28 Agreement and in Paragraphs 232(4)(a)(b)(c) and
              233 of this ruling.

       9.     The second respondent, third respondent and fourth respondent are jointly and
              severally ordered to pay RMB10,346,211 to the applicants as compensation for
              their losses (using August 8, 2017 as reference date for calculation of losses).


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IX.    Arbitration Fee

       325.   With regard to the arbitration fee, all parties agreed during the closing that it
              would not need to be decided by the arbitral tribunal at this stage, hence the
              arbitral tribunal will pass the ruling on arbitration fee after all the parties have
              submitted the relevant supporting documents.




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Date: February 28, 2018

Arbitration venue: Hong Kong




         [signature]                                                   [signature]
 Teresa Cheng Yeuk-Wah,                                          Horace Wong Yuk-Lun,
       Senior Counsel                                                Senior Counsel
          Arbitrator                                                    Arbitrator


                                       [signature]                      [stamp]
                                    Yang Ing Loong               Hong Kong International
                                                                   Arbitration Centre
                                    Chief Arbitrator                 HONG KONG
                               on behalf of arbitral tribunal     INTERNATIONAL
                                                                ARBITRATION CENTRE




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